Case 19-90617-AKM-7A Doc54_ Filed 08/12/19 EOD 08/12/19 12:07:37 Pg 1of 38

a BiemUilicaetercondcriaorek Com let-selti am OI Mer toe

 

‘Debtorname Kentuckiana Medical Center, LLC

——

United States Bankruptcy Courl for the: SOUTHERN DISTRICT OF INDIANA

{
‘Gase number (if known) —19-90617-BHL-7
M@ Check if thisis an
amended filing

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors jars

An individual who ts authorized to act an behalf of a non-individual debtar, such as a corporation or partnership, must sign and submit this
form for the schedules of assete and liabilities, any other document that requires a declaration that Is not included in the document, and any
amendments of those documents, This form must state the individual's position or relationship to the debtor, the Identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptey fraud is a serious crime. Making a false statement, conceating property, or obtalning money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisenment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1819, and 3571.

BR onsite and signature

| am the president, another officer, or an authorized agent of the corporation: a member ar an authorized agent of the partnership; or another
individual serving as @ representative of the debtor in this case.

 

| have examined the information In the documents checked below and | hava a reasonable bellef that the information is (ue and correct:

Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B}
Schedule D: Creditors Who Have Claims Secured hy Property (Official Form 206D)
Schedule E/F: Graditars Who Have Unsecured Claims (Official Form 206E/F)
Schedule G: Execulory Contracts and Unexpired Leases (Offical Form 2066)
Schedule H: Codebtors (Official Form 206H)

Summary of Assets and Liabilities for Non-tndividuels (Official Form 206Sum)
Amended Schedula = E/F andG

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not insiders {Official Form 204)
Olher document that requires a declaration

oo

Ooogsgaoo0ooo

 

' declare under penalty of pexury that the foregoing Is rue and corpect.

Executed on | of £114 _ « ¢

Signature 9findivi

JeffMcCall ©
Printed name

   
 
 

GPL CL.

fal signing on behaif of debtor

 

Authorized Agent =—__
Position or relationship to debtor

Official Form 202 Declaration Under Penaity of Perjury for Non-Individual Debtors
Software Copyright (c} 1896-2019 Best Case, LLC - aw. bestcase.com Gest Case Bankrupicy
Case 19-90617-AKM-7A Doc54_ Filed 08/12/19 EOD 08/12/19 12:07:37 Pg 2 of 38

IMM Alem comet pm Com le (laldli mail Rors eee

Debtorname Kentuckiana Medical Center, LLC

United States Bankruptcy Court for the: SOUTHERN DISTRICT OF INDIANA

Case number (if known) 19-9061 7-BHL-7
H Check if this is an
amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims 12/45

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

List All Creditors with PRIORITY Unsecured Claims

 

1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
No. Go to Part 2.
D1 Yes. Go to line 2.
List All Creditors with NONPRIORITY Unsecured Claims

3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
out and attach the Additional Page of Part 2.

 

Amount of claim

Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $2,400.00
3DR Laboratories Il, LLC C1 contingent
9987 Carver, Suite 210 oO Unliquidated
Cincinnati, OH 45242 0 disputed

Date(s) debt was incurred through 4/2019

Last 4 digits of account number _

Basis for the claim: Open Account

Is the claim subject to offset? Bno Oves

Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $321,708.37
Abbott Laboratories, Inc. O Contingent
6300 Bee Cave Road, Bldg. Two, S 0 unliquidated
Austin, TX 78746 oO Disputed

Date(s) debt was incurred through 3/2019

Last 4 digits of account number _

Basis for the claim: Open Account

Is the claim subject to offset? En O Yes

 

Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ai that apply. $111,770.69
Abbott Vascular Devices O Contingent
75 Remittance Drive, Suite 113 D1 untiquidated
Chicago, IL 60675 CO Disputed

Date(s) debt was incurred through 3/2019

Last 4 digits of account number _

Basis for the claim: Open Account

Is the claim subject to offset? Bn O Yes

 

 

 

Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $199,453.00
Abiomed, Inc. D1 Contingent
P.O. Box 6214 D unliquidated
Boston, MA 02212 oO Disputed
Date(s) debt was incurred _ Basis for the claim: Open Account

Last 4 digits of account number _
Is the claim subject to offset? Bn O Yes

 

 

Official Form 206E/F Schedule E/F: Creditors Who Have Unsecured Claims page 1 of 36
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com 25707 Best Case Bankruptcy
Case 19-90617-AKM-7A Doc 54

Debtor Kentuckiana Medical Center, LLC
Name

Nonpriority creditor's name and mailing address
Absolute Imaging Solutions
P.O. Box 687
Oak Ridge, NC 27310
Date(s) debt was incurred 2018

Last 4 digits of account number _

 

Nonpriority creditor's name and mailing address

Accent
P.O. Box 952366
Saint Louis, MO 63195-5516

Date(s) debt was incurred 2018

Last 4 digits of account number __

Nonpriority creditor's name and mailing address
Airgas USA, LLC
P.O. Box 532609
Atlanta, GA 30353
Date(s) debt was incurred through 4/2019

Last 4 digits of account number _

Nonpriority creditor's name and mailing address
George Alcorn
730 W. Main Street
Madison, IN 47250-3105

Date(s) debt was incurred 2013

 

Last 4 digits of account number _

Nonpriority creditor's name and mailing address
Alere Informatics
P.O. Box 845849
Boston, MA 02284-5849

Date(s) debt was incurred 2018

Last 4 digits of account number _

Nonpriority creditor's name and mailing address
All My Sons Moving & Storage

2400 Old Mill Road

Carrollton, TX 75007

Date(s) debt was incurred _

Last 4 digits of account number _

Nonpriority creditor's name and mailing address

Allied Interstate, LLC
P.O. Box 19326
Minneapolis, MN 55419

Date(s) debt was incurred _

Last 4 digits of account number _

Official Form 206 E/F
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com

 

Schedule E/F: Creditors Who Have Unsecured Claims

Filed 08/12/19 EOD 08/12/19 12:07:37 Pg 3 of 38

Case number (if known) 19-90617-BHL-7

 

As of the petition filing date, the claim is: Check ail that apply.
0 Contingent

OD untiquidatea

O Disputed

Basis for the claim: Open Account

Is the claim subject to offset? MNo Dyes

$1,340.00

$6,995.00

 

As of the petition filing date, the claim is: Check aif that apply.
Oo Contingent

D1 unliquidated

Oo Disputed

Basis for the claim: Open Account
Is the claim subject to offset? Bn O Yes

As of the petition filing date, the claim is: Check a that apply. $11,642.51
O Contingent
01 unliquidated

oO Disputed
Basis for the claim: Open Account

Is the claim subject to offset? Hino Oves

 

 

As of the petition filing date, the claim is: Check aif that apply. $44,639.74
oO Contingent

D Unliquidated

Oo Disputed

Basis for the claim: Promissory Note associated with prior Chapter 11

bankruptcy
Is the claim subject to offset? if No D1 Yes

 

 

As of the petition filing date, the claim is: Check aif that apply. $9,663.71
oO Contingent
OF Unliquidatea

Oo Disputed
Basis for the claim: Open Account

Is the claim subject to offset? Bn O Yes

$2,670.00

 

As of the petition filing date, the claim is: Check af that apply.
0 Contingent

DO unliquidated

Oo Disputed

Basis for the claim: Open Account

Is the claim subject to offset? Ml No 0 ves

 

As of the petition filing date, the claim is: Check all that apply. $121.55
Oo Contingent

D0 unliquidated

O1 Disputed

Basis for the claim: Open Account

Is the claim subject to offset? Bn O Yes

 

 

Page 2 of 36
Best Case Bankruptcy
Case 19-90617-AKM-7A Doc54_ Filed 08/12/19 EOD 08/12/19 12:07:37 Pg 4of 38

Debtor
“Name
3.12 Nonpriority creditor's name and mailing address
American Red Cross
P.O. Box 73013
Chicago, IL 60673-7013

Date(s) debt was incurred __

Last 4 digits of account number _

3.13 | Nonpriority creditor's name and mailing address

AMSC, Inc.
12941 US Hwy. 42
Prospect, KY 40059

Date(s) debt was incurred _

Last 4 digits of account number _

Nonpriority creditor's name and mailing address
Anacom Medtek
1240 S. Claudina Street
Anaheim, CA 92805-6232

Date(s) debt was incurred _

 

Last 4 digits of account number _

[315] Nonpriority creditor's name and mailing address
Angiodynamics
P.O. Box 1549
Albany, NY 12201-1549

Date(s) debt was incurred _

Last 4 digits of account number _

 

3.16 Nonpriority creditor's name and mailing address

Aramark Refreshment Services
8435 Georgetown Road, Suite 100
Indianapolis, IN 46268

Date(s) debt was incurred _

Last 4 digits of account number _

3.17 | Nonpriority creditor's name and mailing address

Aramark Uniform Services
P.O. Box 731676
Dallas, TX 75373-1676

Date(s) debt was incurred through 4/2019

Last 4 digits of account number _

Nonpriority creditor's name and mailing address
Arbor Health, LLC
P.O. Box 681389
Franklin, TN 37069

Date(s) debt was incurred 2018

Last 4 digits of account number _

Official Form 206 E/F
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com

Kentuckiana Medical Center, LLC

Case number (if known)

As of the petition filing date, the claim is: Check aif that apply.
oO Contingent

D1 untiquidated

O Disputed

Basis for the claim: Open Account

Is the claim subject to offset? Hino Dyes

As of the petition filing date, the claim is: Check aif that apply.
oO Contingent

0 unliquidated

O Disputed

Basis for the claim: Open Account

Is the claim subject to offset? z No (1) Yes

 

As of the petition filing date, the claim is: Check aif that apply.
O Contingent

D untiquidated

O Disputed

Basis for the claim: Open Account
Is the claim subject to offset? Gi No LC Yes

As of the petition filing date, the claim is: Check aif that apply.
oO Contingent

D1 unliquidated

D1 Disputed

Basis for the claim: Open Account

Is the claim subject to offset? Mno Oves

 

As of the petition filing date, the claim is: Check aif that apply.
oO Contingent

CO unliquidated

oO Disputed

Basis for the claim: Open Account

Is the claim subject to offset? Bino Oves

 

As of the petition filing date, the claim is: Check af that apply.
D Contingent

D unliquidated

O pisputed

Basis for the claim: Open Account

Is the claim subject to offset? Eno Oves

As of the petition filing date, the claim is: Check ail that apply.
oO Contingent

0 unliquidated

D1 bisputed

Basis for the claim: Open Account

Is the claim subject to offset? o No Oyes

Schedule E/F: Creditors Who Have Unsecured Claims

19-90617-BHL-7

$52,486.22

$368.00

$263.26

$321.00

_ $5,471.75

$28,373.01

$240.65

Page 3 of 36
Best Case Bankruptcy
Case 19-90617-AKM-7A Doc54_ Filed 08/12/19 EOD 08/12/19 12:07:37 Pg 5of 38

Debtor Kentuckiana Medical Center, LLC
Name oO oO _=—
3.19 Nonpriority creditor's name and mailing address

Armstrong Medical Ind
575 Knightsbridge Parkway
Lincolnshire, IL 60069-0770

Date(s) debt was incurred _

Last 4 digits of account number _

 

Nonpriority creditor's name and mailing address

Denise Arnett

c/o The Sampson Law Firm
450 S. Third Street, 4th Floor
Louisville, KY 40202

Date(s) debt was incurred 2010

Last 4 digits of account number _

 

3.21 | Nonpriority creditor's name and mailing address
Estate of David C. Arnett, Sr

c/o The Sampson Law Firm

450 S. Third Street, 4th Floor

Louisville, KY 40202
Date(s) debt was incurred 2010

Last 4 digits of account number _

 

3.22 Nonpriority creditor's name and mailing address
Arrow International, Inc.
P.O. Box 60519

Charlotte, NC 28260
Date(s) debt was incurred through 2/2019
Last 4 digits of account number _

3.23 | Nonpriority creditor's name and mailing address
AT&T
P.O. Box 8100

Aurora, IL 60507-8100
Date(s) debt was incurred through 3/2019
Last 4 digits of account number _

3.24 | Nonpriority creditor's name and mailing address

AT&T Corp.
One AT&T Way, Room 3A218
Bedminster, NJ 07921-2693

Date(s) debt was incurred 2013

Last 4 digits of account number _

Nonpriority creditor's name and mailing address
Baptist Health Floyd
1850 State Street
New Albany, IN 47150
Date(s) debt was incurred through 4/2019

Last 4 digits of account number _

Official Form 206 E/F
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com

 

Schedule E/F: Creditors Who Have Unsecured Claims

Case number (if known) 19-90617-BHL-7

 

As of the petition filing date, the claim is: Check aif that apply.
O Contingent

D unliquidated

0 Disputed

Basis for the claim: Open Account

Is the claim subject to offset? Bn O Yes

 

 

As of the petition filing date, the claim is: Check aif that apply. ___Unknown
EE Contingent

@ unliquidated

I disputed

Basis for the claim: Potential Medical Malpractice Claim

Is the claim subject to offset? Eno Oves

Unknown

 

As of the petition filing date, the claim is: Check aif that apply.

a Contingent

B unliquidated

i Disputed

Basis for the claim: Potential Medical Malpractice Claim

Is the claim subject to offset? Eno Oves

$6,065.56

 

As of the petition filing date, the claim is: Check a that apply.
oO Contingent

D0 unliquidated

O Disputed

Basis for the claim: Open Account
Is the claim subject to offset? Hi No 1 Yes

 

_ $34,638.77

As of the petition filing date, the claim is: Check ail that apply.
oO Contingent

D1 unliquidated

Oo Disputed

Basis for the claim: Open Account

Is the claim subject to offset? Bn O Yes

 

As of the petition filing date, the claim is: Check aif that apply. $38,070.33
Oo Contingent

0 unliquidated

O Disputed

Basis for the claim: Promissory Note associated with prior Chapter 11
bankruptcy

Is the claim subject to offset? Bno Oves

 

$87,413.48

As of the petition filing date, the claim is: Check aif that apply.
oO Contingent

D unliquidated

Oo Disputed

Basis for the claim: Open Account

is the claim subject to offset? Bno Oves

 

 

 

Page 4 of 36
Best Case Bankruptcy
Case 19-90617-AKM-7A Doc 54 Filed 08/12/19 EOD 08/12/19 12:07:37 Pg 6 of 38

Debtor Kentuckiana Medical Center, LLC
Name a
3.26 Nonpriority creditor's name and mailing address

Baxter Healthcare Corp.
P.O. Box 70564
Chicago, IL 60673-0564

Date(s) debt was incurred _

Last 4 digits of account number _

 

3.27 Nonpriority creditor's name and mailing address
Joseph H. Beaven, M.D.
9431 County Road 403

Charlestown, IN 47111
Date(s) debt was incurred _

Last 4 digits of account number _

3.28 | Nonpriority creditor's name and mailing address
David Berry

6001 O'Possum Trot Road
Charlestown, IN 47111-9137

Date(s) debt was incurred 2013

Last 4 digits of account number _

3.29 Nonpriority creditor's name and mailing address

BHS Hospital Services, Inc.
P.O. Box 538449
Atlanta, GA 30353

Date(s) debt was incurred through 2/2019

Last 4 digits of account number _

 

3.30 | Nonpriority creditor's name and mailing address

Bio Rad Laboratories
P.O. Box 849740
Los Angeles, CA 90084

Date(s) debt was incurred through 2/2019
Last 4 digits of account number _

Nonpriority creditor's name and mailing address
Bio-Medical Applications of KY, Inc.

16343 Collection Center Road
Chicago, iL 60693

Date(s) debt was incurred 4/2019

Last 4 digits of account number _

3.31

3.32 Nonpriority creditor's name and mailing address
Bio-Medical Applications of KY, Inc.
16343 Collection Center Road
Chicago, IL 60693

Date(s) debt was incurred 2013

Last 4 digits of account number _

Official Form 206 E/F
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com

Case number (if known)

As of the petition filing date, the claim is: Check aif that apply.
Oo Contingent

D1 unliquidated

0D Disputed

Basis for the claim: Open Account
Is the claim subject to offset? Zn O Yes

 

As of the petition filing date, the claim is: Check ai that apply.
O Contingent

D1 unliquidated

oO Disputed

Basis for the claim: Open Account

Is the claim subject to offset? Bno Oves

 

 

As of the petition filing date, the claim is: Check af that apply.
D Contingent

D unliquidated

Oo Disputed

19-90617-BHL-7

$6,089.15

$25,000.00

$29,294.83

Basis for the claim:_Promissory Note associated with prior Chapter 114

bankruptc
Is the claim subject to offset? Mno Oves

As of the petition filing date, the claim is: Check aii that apply.
oO Contingent

DO unliquidated

Oo Disputed

Basis for the claim: Open Account

Is the claim subject to offset? Zn O Yes

 

As of the petition filing date, the claim is: Check ail that apply.
oO Contingent

D1 unliquidated

0D Disputed

Basis for the claim: Open Account

{s the claim subject to offset? Eno Oves

 

 

As of the petition filing date, the claim is: Check ai that apply.
oO Contingent

D1 unliquidated

1 Disputed

Basis for the claim: Open Account

Is the claim subject to offset? Bno Oves

 

 

As of the petition filing date, the claim is: Check aif that apply.
oO Contingent

OD unliquidated

Oo Disputed

_ $60,753.68

$29,547.40

$36,684.85

$55,744.89

Basis for the claim: Promissory Note associated with prior Chapter 11

bankruptc
Is the claim subject to offset? Myo Oves

 

Schedule E/F: Creditors Who Have Unsecured Claims

Page 5 of 36
Best Case Bankruptcy
Case 19-90617-AKM-7A Doc54_ Filed 08/12/19 EOD 08/12/19 12:07:37 Pg 7 of 38

Debtor Kentuckiana Medical Center, LLC Case number (itknown) —_ 19-90617-BHL-7
Name
3.33 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. _ $20,450.00
Biotronik, Inc. D1 contingent
P.O. Box 205421 D unliquidated
Dallas, TX 75320-5421 D1 Disputed
Date(s) debt was incurred _ Basis for the claim: Open Account

Last 4 digits of account number _
ts the claim subject to offset? HBno Oves

 

Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $690.00
Black Diamond Pest Control D1 Contingent
4911 Hamaburg Pike Ci unliquidated
Jeffersonville, IN 47130 0 disputed
Date(s) debt was incurred _ Basis for the claim: Open Account

Last 4 digits of account number _
Is the claim subject to offset? Bn O Yes

 

3.35 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. _ $25,000.00

Blue & Co., LLC O contingent

2712 Solution Center DO untiquidated

Chicago, IL 60677-2007 CF Disputed

Date(s) debt was incurred 4/2019 Basis for the claim: Open Account

Last 4 digits of account number _
ls the claim subject to offset? Hn O Yes

 

3.36 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $3,875.00

Bluegrass BioMedical, Inc. 1 Contingent

P.O. Box 296 0 unliquidated

Danville, KY 40422 1 disputed

Date(s) debt was incurred through 3/2019 Basis for the claim: Open Account

Last 4 digits of account number _
Is the claim subject to offset? MI No [ves

 

3.37 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $1,400.00
Bluegrass Net O Contingent oe
321 E. Breckenridge Street 0 unliquidated
Louisville, KY 40203 O pisputed
Date(s) debt was incurred through 3/2019 Basis for the claim: Open Account

Last 4 digits of account number _
Is the claim subject to offset? Bno Oves

 

Nonpriority creditor’s name and mailing address As of the petition filing date, the claim is: Check all that apply. $136,043.32
Boston Scientific Corp. O Contingent
P.O. Box 951653 CO unliquidated
Dallas, TX 75395 O Disputed
Date(s) debt was incurred through 4/2019 Basis for the claim: Open Account

Last 4 digits of account number _
Is the claim subject to offset? Hino Oves

 

 

3.39 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $59,784.70
Boston Scientific Corp. D1 contingent oe
P.O. Box 951653 DO unliquidated
Dallas, TX 75395 oO Disputed
Date(s) debt was incurred _2013_ Basis for the claim: Promissory Note associated with prior Chapter 11
Last 4 digits of account number _ bankrupicy

Is the claim subject to offset? ME No O1 yes

 

Official Form 206 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 6 of 36
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com Best Case Bankruptcy
Case 19-90617-AKM-7A Doc 54

Debtor Kentuckiana Medical Center, LLC _
Name

 

3.40 | Nonpriority creditor's name and mailing address
Estate of Wilburn C. Bowling
clo Law Office of Nick Stein
810 E. Market Street
New Albany, IN 47150
Date(s) debt was incurred 2014

Last 4 digits of account number _

Nonpriority creditor's name and mailing address
Wanda F. Bowling
c/o Law Office of Nick Stein
810 E. Market Street
New Albany, IN 47150

Date(s) debt was incurred 2014

Last 4 digits of account number _

[3.42 | Nonpriority creditor's name and mailing address
Bryan Corporation (Lymol Medical)
4 Plympton Street
Woburn, MA 01801-2996

Date(s) debt was incurred _

Last 4 digits of account number _

3.43 Nonpriority creditor's name and mailing address
Business Health Plus
4755 Highway 31
Clarksville, IN 47129

Date(s) debt was incurred _
Last 4 digits of account number _

3.44 Nonpriority creditor's name and mailing address
C & | Electronics
1700 N. Lafayette Avenue
Evansville, IN 47711-4595
Date(s) debt was incurred through 2/2019

Last 4 digits of account number _

Nonpriority creditor's name and mailing address
C R Bard Davol / C R Bard, Inc.
P.O. Box 75767
Charlotte, NC 28275

Date(s) debt was incurred _

Last 4 digits of account number _

3.46 Nonpriority creditor's name and mailing address

Jeffrey A. Campbell
1804 E. Tenth Street
Jeffersonville, IN 47130

Date(s) debt was incurred _

Last 4 digits of account number _

Filed 08/12/19 EOD 08/12/19 12:07:37 Pg 8 of 38

Case number (if known) 19-90617-BHL-7

As of the petition filing date, the claim is: Check all that apply. ___ Unknown
o Contingent

unliquidated

c Disputed

Basis for the claim: Potential Medical Malpractice Claim

Is the claim subject to offset? Bn Oves

 

 

As of the petition filing date, the claim is: Check all that apply. _ Unknown
i Contingent

I unliquidated

a Disputed

Basis for the claim: Potential Medical Malpractice Claim

ls the claim subject to offset? a No C1 yes

 

 

As of the petition filing date, the claim is: Check ail that apply. $251.00
O Contingent

D0 unliquidated

0 Disputed

Basis for the claim: Open Account
Is the claim subject to offset? a No Clyes

As of the petition filing date, the claim is: Check all that apply. $4,027.00
0 Contingent

C1 unliquidated

oO Disputed

Basis for the claim: Open Account

Is the claim subject to offset? a No [Yes

 

 

As of the petition filing date, the claim is: Check all that apply. $15.00
O Contingent

0 Unliquidated

oO Disputed

Basis for the claim: Open Account

Is the claim subject to offset? Bno Oves

 

As of the petition filing date, the claim is: Check all that apply. $11,163.22
oO Contingent

Oo Unliquidated

D Disputed

Basis for the claim: Open Account

Is the claim subject to offset? En O Yes

 

As of the petition filing date, the claim is: Check aif that apply. - $329,694.24
a Contingent

BF unliquidated

a Disputed

Basis for the claim: _

is the claim subject to offset? Bn O Yes

 

 

 

Official Form 206 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 7 of 36

Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com

Best Case Bankruptcy
Case 19-90617-AKM-7A Doc 54 Filed 08/12/19 EOD 08/12/19 12:07:37 Pg 9 of 38

 

Debtor Kentuckiana Medical Center, LLC | Case number (if known) 19-9061 7-BHL-7 ee
Name
[347 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. _ $43 278.23
Carefusion Solutions, LLC O1 contingent
25082 Network Place D1 Uniiquidated
Chicago, IL 60673-1250 O pisputed
Date(s) debt was incurred through 3/2019 Basis for the claim: Open Account

Last 4 digits of account number _
Is the claim subject to offset? Eno Oves

 

3.48 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $80,219.22
Carefusion Solutions, LLC O Contingent
25082 Network Place D unliquidated
Chicago, IL 60673-1250 O pisputea

Date(s) debt was incurred 2013 Basis for the claim:_Promissory Note associated with prior Chapter 11

Last 4 digits of account number _ bankruptcy

Is the claim subject to offset? MI No O Yes

 

Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. _ $34.14
Carstens D1 Contingent
P.O. Box 99110 D uUntiquidated
Chicago, IL 60693 C1 Disputed
Date(s) debt was incurred _ Basis for the claim: Open Account

Last 4 digits of account number _
Is the claim subject to offset? ME No O yes

 

 

3.50 _| Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. $13,949.92
Keith B. Carter DO contingent
250 W. Main Street, Suite 1400 0 unliquidated
Lexington, KY 40507-1721 C Disputed
Date(s) debt was incurred 2013 Basis for the claim:_Promissory Note associated with prior Chapter 11
Last 4 digits of account number _ bankruptcy

Is the claim subject to offset? Bno Oves

Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aff that apply. $777,342.87
Cerner Corporation D Contingent
P.O. Box 959156 D1 unliquidated
Saint Louis, MO 63195-9156 O pisputea
Date(s) debt was incurred through 4/2019 Basis for the claim: Open Account

Last 4 digits of account number _
Is the claim subject to offset? Bno Oves

 

3.52 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $12,554.93
Mary Lynell Chamberlain O Contingent
c/o Ballinger McClain, PLLC C1 unliquidated
9720 Park Plaza Avenue, Suite 102 O pisputed
Louisville, KY 40241-2289

_ Basis for the claim: Promissory Note associated with prior Chapter 11
Date(s) debt was incurred 2013 bankruptcy

Last 4 digits of account number _
Is the claim subject to offset? Brno O Yes

 

 

3.53 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. _ _ $77.92
Chapter 13 Trustee O Contingent
200 S. 7th Street, Suite 310 D unliquidated
Louisville, KY 40202 1 pisputed
Date(s) debt was incurred _ Basis for the claim: Open Account

Last 4 digits of account number _
Is the claim subject to offset? a No DO ves

 

 

 

Official Form 206 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 8 of 36
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com Best Case Bankruptcy
Case 19-90617-AKM-7A Doc54_ Filed 08/12/19 EOD 08/12/19 12:07:37 Pg 10 of 38

Debtor Kentuckiana Medical Center, LLC

“Name -

3.54 | Nonpriority creditor's name and mailing address

Ciox Health
P.O. Box 409669
Atlanta, GA 30384

Date(s) debt was incurred 2018

Last 4 digits of account number _

Nonpriority creditor's name and mailing address
Clark County Treasurer
501 E. Court Avenue, #125
Jeffersonville, IN 47130
Date(s) debt was incurred 4/2019

Last 4 digits of account number _

3.56 Nonpriority creditor's name and mailing address
Clark Memorial Hospital
1220 Missouri Avenue
Jeffersonville, IN 47130

Date(s) debt was incurred 4/2019

Last 4 digits of account number _

 

3.57 Nonpriority creditor's name and mailing address

Clarksville Wastewater Dept.
P.O. Box 2668
Clarksville, IN 47131

Date(s) debt was incurred 2013

Last 4 digits of account number _

Nonpriority creditor's name and mailing address
Coit Services
P.O. Box 9058
Louisville, KY 40209

Date(s) debt was incurred _
Last 4 digits of account number _

3.59 Nonpriority creditor's name and mailing address

Collection Services Center
839 5th Avenue
New Kensington, PA 15068

Date(s) debt was incurred _

Last 4 digits of account number _

 

Case number (if known) 19-9061 7-BHL-7

As of the petition filing date, the claim is: Check aif that apply.
oO Contingent

D1 unliquidated

oO Disputed

Basis for the claim: Open Account
Is the claim subject to offset? a No Cyes

$534.56

 

As of the petition filing date, the claim is: Check ail that apply. $92,425.24
OD Contingent
oO Unliquidated

D0 Disputed
Basis for the clam: Open Account

Is the claim subject to offset? MI No O Yes

As of the petition filing date, the claim is: Check ail that apply. $996.00
oO Contingent

DO unliquidated

Oo Disputed

Basis for the claim: Open Account

Is the claim subject to offset? ME No O ves

As of the petition filing date, the claim is: Check ai! that apply. $1 0,456.28
Oo Contingent

C1 Unliquidated

O Disputed

Basis for the claim: Promissory Note associated with prior Chapter 11

bankruptcy
Is the claim subject to offset? Zn O Yes

As of the petition filing date, the claim is: Check ail that apply. $207.00
O Contingent

D1 unliquidated

oO Disputed

Basis for the claim: Open Account

Is the claim subject to offset? MI No O1 Yes

As of the petition filing date, the claim is: Check ail that apply. $157.53
Oo Contingent

DO Uniiquidated

0 Disputed

Basis for the claim: Open Account

Is the claim subject to offset? Bno Oves

 

 

 

3.60 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $50,273.98
Comprehensive Pharmacy Services, LLC O Contingent
P.O. Box 638316 O unliquidated
Cincinnati, OH 45263 C1 Disputed
Date(s) debt was incurred through 4/2019 Basis for the claim: Open Account
Last 4 digits of account number
~ Is the claim subject to offset? Bno Oves
Official Form 206 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 9 of 36

Software Copyright (c} 1996-2019 Best Case, LLC - www.besicase.com

Best Case Bankruptcy
Case 19-90617-AKM-7A Doc54_ Filed 08/12/19 EOD 08/12/19 12:07:37 Pg 11 of 38

Debtor Kentuckiana Medical Center, LLC

‘Name

3.61 Nonpriority creditor's name and mailing address
Constellation New Energy-Gas Div, LLC
P.O. Box 5473
Carol Stream, IL 60197

Date(s) debt was incurred through 4/2019

Last 4 digits of account number _

Nonpriority creditor's name and mailing address
Craneware, Inc.
P.O. Box 934241
Atlanta, GA 31193-4241

Date(s) debt was incurred 2018

Last 4 digits of account number _

 

 

3.63 Nonpriority creditor's name and mailing address

Cryolife, Inc.
P.O. Box 102312
Atlanta, GA 30368

Date(s) debt was incurred _
Last 4 digits of account number _

3.64 Nonpriority creditor's name and mailing address

CS Medical
2179 E. Lyon Station Road
Creedmoor, NC 27522

Date(s) debt was incurred _

Last 4 digits of account number _

Nonpriority creditor's name and mailing address
CT Corporation
P.O. Box 4349
Carol Stream, IL 60197

Date(s) debt was incurred 2018

Last 4 digits of account number __

3.66 Nonpriority creditor's name and mailing address

Culligan Water Systems
490 N. Clark Bivd.
Clarksville, IN 47129

Date(s) debt was incurred through 3/2019
Last 4 digits of account number _

Nonpriority creditor's name and mailing address
Cummins Crosspoint
75 Remittance Drive, Suite 1701
Chicago, IL 60675-1701

Date(s) debt was incurred _

Last 4 digits of account number _

Official Form 206 E/F
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com

Schedule E/F: Creditors Who Have Unsecured Claims

Case number (if known) 19-90617-BHL-7
As of the petition filing date, the claim is: Check ai that appiy.

O Contingent

O unliquidated

oO Disputed

Basis for the claim: Open Account

$21,207.49

Is the claim subject to offset? Sn O Yes

$48,422.63

 

As of the petition filing date, the claim is: Check aff that apply.
D Contingent

DO uniiquidated

O Disputed

Basis for the claim: Open Account
Is the claim subject to offset? Zn O Yes

 

 

As of the petition filing date, the claim is: Check aif that apply. $10,552.46
oO Contingent

oO Unliquidated

oO Disputed

Basis for the claim: Open Account

ls the claim subject to offset? Eno Oves

 

As of the petition filing date, the claim is: Check aif that apply. $822.36
oO Contingent

DO Unliquidated

Oo Disputed

Basis for the claim: Open Account

Is the claim subject to offset? Bno Oves

 

As of the petition filing date, the claim is: Check aif that apply. $124.41
Oo Contingent

OD unliquidated

oO Disputed

Basis for the claim: Open Account
Is the claim subject to offset? Bno Oves

_ $667.68

 

As of the petition filing date, the claim is: Check aff that apply.
O Contingent

D0 unliquidated

O Disputed

Basis for the claim: Open Account
Is the claim subject to offset? Eino Oves

 

As of the petition filing date, the claim is: Check ail that apply. $354.45
Oo Contingent
CD untiquidated

oO Disputed

Basis for the claim: Open Account
Is the claim subject to offset? Bn O Yes

 

Page 10 of 36
Best Case Bankruptcy
Case 19-90617-AKM-7A Doc54_ Filed 08/12/19 EOD 08/12/19 12:07:37 Pg 12 of 38

Debtor Kentuckiana Medical Center, LLC
Name

3.68 Nonpriority creditor's name and mailing address
Daikin Applied
24827 Network Place
Chicago, IL 60673

Date(s) debt was incurred 2018

Last 4 digits of account number _

 

3.69 Nonpriority creditor's name and mailing address
Data Facts, Inc.
P.O. Box 4276
Cordova, TN 38088-4276
Date(s) debt was incurred 2018

Last 4 digits of account number _

[3.70 | Nonpriority creditor's name and mailing address

Data Strategy, LLC
5555 Corporate Exchange Ct. SE
Grand Rapids, MI 49512

Date(s) debt was incurred through 3/2019

Last 4 digits of account number _

Nonpriority creditor's name and mailing address

Daves & Kelly, Inc.
P.O. Box 91558
Louisville, KY 40291

Date(s) debt was incurred through 4/2019
Last 4 digits of account number _

3.72 Nonpriority creditor's name and mailing address

Dept. of Education AWG
P.O. Box 5609
Greenville, TX 75403-5609

Date(s) debt was incurred _

Last 4 digits of account number _

 

3.73 | Nonpriority creditor's name and mailing address
Depuy Synthes
5972 Collections Center Drive
Chicago, IL 60693

Date(s) debt was incurred through 3/2019
Last 4 digits of account number _

Nonpriority creditor's name and mailing address
Dormakaba USA, Inc.

P.O. Box 896542
Charlotte, NC 28289

Date(s) debt was incurred 2/2019

Last 4 digits of account number _

Official Form 206 E/F
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com

 

Schedule E/F: Creditors Who Have Unsecured Claims

Case number (if known) 19-90617-BHL-7 _

As of the petition filing date, the claim is: Check ail that apply.
O Contingent

D7 unliquidated

0 Disputed

Basis for the claim: Open Account

Is the claim subject to offset? En O Yes

As of the petition filing date, the claim is: Check aif that apply. $536.00
0 Contingent

O Unliquidated

O Disputed

Basis for the claim: Open Account

{s the claim subject to offset? Eno Oves

$6,941.00

 

 

As of the petition filing date, the claim is: Check aff that apply. $4,230.00
O Contingent
D0 unliquidated

DO bDisputed

Basis for the claim: Open Account
Is the claim subject to offset? Eno Oves

 

As of the petition filing date, the claim is: Check aif that apply.
Oo Contingent

0 unliquidated

O Disputed

Basis for the claim: Open Account

is the claim subject to offset? Bn O Yes

 

As of the petition filing date, the claim is: Check aif that apply. $81.17
oO Contingent

DO unliquidated

D Disputed

Basis for the claim: Open Account
Is the claim subject to offset? By O Yes

$32,193.20

 

As of the petition filing date, the claim is: Check aif that apply.
Oo Contingent

D1 unliquidated

oO Disputed

Basis for the claim: Open Account

Is the claim subject to offset? Bn O Yes

6.00

 

As of the petition filing date, the claim is: Check aif that apply.
0 Contingent

oO Unliquidated

O Disputed

Basis for the claim: Open Account

Is the claim subject to offset? Bno Oves

”

lo

Page 11 of 36
Best Case Bankruptcy
Case 19-90617-AKM-7A Doc54_ Filed 08/12/19 EOD 08/12/19 12:07:37 Pg 13 of 38

Debtor Kentuckiana Medical Center, LLC
‘Name
Nonpriority creditor's name and mailing address
Dr. Beavens

9431 County Road 403
Charlestown, IN 47111

Date(s) debt was incurred 2013

Last 4 digits of account number __

Nonpriority creditor's name and mailing address
Draeger Medical, Inc.

P.O. Box 13369

Newark, NJ 07101-3362

Date(s) debt was incurred _

Last 4 digits of account number _

 

3.77 | Nonpriority creditor's name and mailing address

Duke Energy
P.O. Box 1327
Charlotte, NC 28201-1327

Date(s) debt was incurred 4/2019

Last 4 digits of account number _

[3.78 | Nonpriority creditor's name and mailing address
DXC Technology
Indiana Health Coverage Program
950 N. Meridian Street, Suite 1150
Indianapolis, IN 46204

Date(s) debt was incurred 12/2017 through

Last 4 digits of account number _

 

Case number (if known) 19-90617-BHL-7 __

As of the petition filing date, the claim is: Check all that apply.
Oo Contingent

OD Untiquidatea

Oo Disputed

Basis for the claim: Promissory Note associated with prior Chapter 11
bankruptcy

Is the claim subject to offset? Eno Oves

$53,672.31

 

As of the petition filing date, the claim is: Check aif that apply. $488.72
Oo Contingent
OD unliquidated

D Disputed
Basis for the claim: Open Account

Is the claim subject to offset? Bno Oves

$74,238.87

 

As of the petition filing date, the claim is: Check aif that apply.
Oo Contingent

D unliquidated

oO Disputed

Basis for the claim: Open Account

ls the claim subject to offset? Ono Myes

 

$1,790,168.60

As of the petition filing date, the claim is: Check af that apply.

Oo Contingent
D1 unliquidated
C1 Disputed

Basis for the claim: Health Assessment Fee

\s the claim subject to offset? Byo Oves

 

 

 

3.79 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $31.35
Earthgrains Company Oi contingent
P.O. Box 4412 D unliquidated
Bridgeton, MO 63044-0412 CO disputed
Date(s) debt was incurred _ Basis for the claim: Open Account
Last 4 digits of account number _
Is the claim subject to offset? Mino Oves
3.80 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $581.12
Elite Tech, LLC D1 Contingent
P.O. Box 6622 D0 unliquidated
Shepherdsville, KY 40165 C Disputed
Date(s) debt was incurred _ Basis for the claim: Open Account
Last 4 digits of account number _
Is the claim subject to offset? MZ No C1 Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $890,036.57
Emcare, Inc. O contingent
7032 Collection Center Drive CO unliquidated
Chicago, IL 60693 O pisputed
Date(s) debt was incurred through 4/2019 Basis for the claim: Open Account
Last 4 digits of account number _
Is the claim subject to offset? Bn O Yes
Official Form 206 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 12 of 36

Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com

Best Case Bankruptcy
Case 19-90617-AKM-7A Doc54_ Filed 08/12/19 EOD 08/12/19 12:07:37 Pg 14 of 38

Debtor Kentuckiana Medical Center, LLC
Name

 

3.82 | Nonpriority creditor's name and mailing address
Endo Technologies, Inc.
6650 New Nashville Hwy., Suite 100
Smyrna, TN 37167
Date(s) debt was incurred 2013

Last 4 digits of account number __

Nonpriority creditor's name and mailing address

File Management Pros, LLC
7735 Nat'l Turnpike, Suite 100
Louisville, KY 40214

Date(s) debt was incurred _

Last 4 digits of account number _

Nonpriority creditor's name and mailing address
Flexential Kentucky, LLC
P.O. Box 534326
Atlanta, GA 30353
Date(s) debt was incurred 4/2019

Last 4 digits of account number _

3.85 | Nonpriority creditor's name and mailing address
Foulston Siefkin, LLP
1551 N. Waterfront Parkway
Wichita, KS 67206
Date(s) debt was incurred through 3/2019

Last 4 digits of account number _

Nonpriority creditor's name and mailing address

FP Mailing Solutions
P.O. Box 157
Bedford Park, IL 60499-0157

Date(s) debt was incurred 4/2019

Last 4 digits of account number _

3.87 Nonpriority creditor's name and mailing address

FSSA Claim Repayment
P.O. Box 621007
Indianapolis, IN 46262-1007

Date(s) debt was incurred 2018
Last 4 digits of account number _

3.88 | Nonpriority creditor's name and mailing address

Futurestep, Inc.
P.O. Box 1450
Minneapolis, MN 55485-5065

Date(s) debt was incurred 2018

Last 4 digits of account number _

Official Form 206 E/F
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com

Schedule E/F: Creditors Who Have Unsecured Claims

Case number (if known) _19-90617-BHL-7

As of the petition filing date, the claim is: Check ail that apply.
oO Contingent

D1 unliquidated

oO Disputed

Basis for the claim: Promissory Note associated with prior Chapter 11
bankruptcy

Is the claim subject to offset? Bn O Yes

$28,543.00

As of the petition filing date, the claim is: Check aff that apply. $913.15
oO Contingent

DO unliquidated

oO Disputed

Basis for the claim: Open Account

Is the claim subject to offset? En O Yes

 

As of the petition filing date, the claim is: Check all that apply. $3,039.02
QD Contingent
DO unliquidated

DO Disputed
Basis for the claim: Open Account

Is the claim subject to offset? HB No D1 Yes

 

As of the petition filing date, the claim is: Check all that apply. $45,193.66
Oo Contingent
Oo Unliquidated

O1 disputed
Basis for the claim: Open Account

is the claim subject to offset? Bn O Yes

As of the petition filing date, the claim is: Check aif that apply. $506.38
O Contingent

D unliquidated

D1 Disputed

Basis for the claim: Open Account

Is the claim subject to offset? a No C) ves

$184,410.67

 

As of the petition filing date, the claim is: Check ai that apply.
0 Contingent

C1 unliquidated

oO Disputed

Basis for the claim: Open Account
Is the claim subject to offset? Bno Oves

 

As of the petition filing date, the claim is: Check aif that apply. $41,580.00
0D Contingent
CT] unliquidated

O Disputed

Basis for the claim: Open Account
Is the claim subject to offset? Bn O Yes

 

 

Page 13 of 36
Best Case Bankruptcy
Debtor

3.89

Kentuckiana Medical Center, LLC
Name - -

Nonpriority creditor's name and mailing address
Galichia Hospital Group

2600 N. Woodlawn

Wichita, KS 67220

Date(s) debt was incurred through 3/2019
Last 4 digits of account number _

Nonpriority creditor's name and mailing address

3.91

3.92

GE Precision Healthcare, LLC
P.O. Box 96483
Chicago, IL 60693

Date(s) debt was incurred through 4/2019
Last 4 digits of account number _

Nonpriority creditor's name and mailing address

Global Industries Equip.
29833 Network Place
Chicago, IL 60673-1298

Date(s) debt was incurred _

Last 4 digits of account number _

 

Nonpriority creditor's name and mailing address
Grainger

Dept. 876753955

Palatine, IL 60038

Date(s) debt was incurred _

Last 4 digits of account number _

3.93 | Nonpriority creditor's name and mailing address

3.94

3.95

Official Form 206 E/F

Granite Telecommunications
Client ID #311

P.O. Box 983119

Boston, MA 02298-3119

Date(s) debt was incurred _

Last 4 digits of account number _

Nonpriority creditor's name and mailing address
Greater Louisville Med Society

328 E. Main Street
Louisville, KY 40202

Date(s) debt was incurred _

Last 4 digits of account number _

 

Nonpriority creditor's name and mailing address

Green & Orange Cab
1811 W. Main Street
Louisville, KY 40203

Date(s) debt was incurred _

Last 4 digits of account number _

Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com

 

Case 19-90617-AKM-7A Doc54_ Filed 08/12/19 EOD 08/12/19 12:07:37 Pg 15 of 38

Case number (if known) 19-90617-BHL-7

As of the petition filing date, the claim is: Check afl that apply. $192,828.55
O Contingent

C1 unliquidated

oO Disputed

Basis for the claim: Open Account
Is the claim subject to offset? Gn O Yes

As of the petition filing date, the claim is: Check aif that apply. $127,329.67
Oo Contingent

D unliquidated

DO Disputed

Basis for the claim: Open Account

Is the claim subject to offset? Zn O Yes

As of the petition filing date, the claim is: Check al! that apply. $1,339.00
0 Contingent

0 unliquidated

oO Disputed

Basis for the claim: Open Account

 

 

Is the claim subject to offset? Bn O Yes

As of the petition filing date, the claim is: Check ai! that apply. $92.66
Oo Contingent

C1 untiquidated

O pisputea

Basis for the claim: Open Account

Is the claim subject to offset? Bn O Yes

 

As of the petition filing date, the claim is: Check aif that apply. $908.09

0 Contingent
D1 unliquidated
O Disputed

Basis for the claim: Open Account

Is the claim subject to offset? Mi No 1 Yes

As of the petition filing date, the claim is: Check all that apply. $300.00
oO Contingent

DO unliquidated

Oo Disputed

Basis for the claim: Open Account

ls the claim subject to offset? En O Yes

 

As of the petition filing date, the claim is: Check aif that apply. $380.00
Oo Contingent

D unliquidated

O Disputed

Basis for the claim: Open Account

is the claim subject to offset? Bno Oves

 

 

Schedule E/F: Creditors Who Have Unsecured Claims Page 14 of 36

Best Case Bankruptcy
Case 19-90617-AKM-7A Doc54_ Filed 08/12/19 EOD 08/12/19 12:07:37 Pg 16 of 38

 

Debtor Kentuckiana Medical Center, LLC
Name — a
Nonpriority creditor's name and mailing address
Hadrotes Property CPC #3

9900 Shelbyville Road
Louisville, KY 40223

Date(s) debt was incurred 2013

Last 4 digits of account number _

3.97 Nonpriority creditor's name and mailing address
Estate of Martha Hall
c/o Palmer Thompson Law, LLC
404 E. Main Street
New Albany, IN 47150
Date(s) debt was incurred 2013

Last 4 digits of account number _

 

Nonpriority creditor's name and mailing address

William Hall

c/o Palmer Thompson Law, LLC
404 E. Main Street

New Albany, IN 47150

Date(s) debt was incurred 2013

 

Last 4 digits of account number _

Nonpriority creditor's name and mailing address
Eli Haltal
2 Silvercreek Drive, #100
New Albany, IN 47150

Date(s) debt was incurred _

 

Last 4 digits of account number _

Nonpriority creditor's name and mailing address
Henry W. Harriso IV
c/o Garau Germano Hanley & Pennington PC
151 N. Delaware Street, Suite 1515
Indianapolis, IN 46204

Date(s) debt was incurred 2012

 

Last 4 digits of account number _

Nonpriority creditor's name and mailing address
Estate of Teddie Duane Harrison
c/o Garau Germano Hanley & Pennington PC
151 N. Delaware Street, Suite 1515
Indianapolis, IN 46204

Date(s) debt was incurred 2012

Last 4 digits of account number _

3.102 | Nonpriority creditor's name and mailing address

Rebecca Harrison

c/o Garau Germano Hanley & Pennington PC
151 N. Delaware Street, Suite 1515
Indianapolis, IN 46204

Date(s) debt was incurred 2012

 

Last 4 digits of account number _

Official Form 206 E/F
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com

 

Schedule E/F: Creditors Who Have Unsecured Claims

Case number (if known) _19-90617-BHL-7

 

As of the petition filing date, the claim is: Check aff that apply.
D Contingent

C1 Untiquidatea

QD Disputed

Basis for the claim: Promissory Note associated with prior Chapter 11
bankruptcy

Is the claim subject to offset? Bn O Yes

$141,359.17

Unknown

 

As of the petition filing date, the claim is: Check aif that apply.

a Contingent

BF Uniiquidated

E Disputed

Basis for the claim: Potential Medical Malpractice Claim

Is the claim subject to offset? Bn O Yes

Unknown

 

As of the petition filing date, the claim is: Check aif that apply.

a Contingent

BF Uniiquidated

a Disputed

Basis for the claim: Potential Medical Malpractice Claim

Is the claim subject to offset? Bn O Yes

 

$1,412,000.00

As of the petition filing date, the claim is: Check ail that apply.

 

Bi Contingent

© unliquidated

a Disputed

Basis for the claim: _

Is the claim subject to offset? Bno Oves

 

 

As of the petition filing date, the claim is: Check aif that apply. Unknown
zi Contingent

a Unliquidated

a Disputed

Basis for the claim: Potential Medical Malpractice Claim

Is the claim subject to offset? En O Yes

 

 

As of the petition filing date, the claim is: Check aif that apply. Unknown
i Contingent

B Uniiquidated

— Disputed

Basis for the claim: Potential Medical Malpractice Claim

Is the claim subject to offset? Bno Oves

 

As of the petition filing date, the claim is: Check all that apply. ___ Unknown
it Contingent

Wi unliquidated

a Disputed

Basis for the claim: Potential Medical Malpractice Claim

Is the claim subject to offset? a No DO yYes

Page 15 of 36
Best Case Bankruptcy
Case 19-90617-AKM-7A Doc54_ Filed 08/12/19 EOD 08/12/19 12:07:37 Pg 17 of 38

Debtor Kentuckiana Medical Center, LLC

Name

3.103 | Nonpriority creditor's name and mailing address

Health Care Logistics, Inc.
P.O. Box 400
Circleville, OH 43113

Date(s) debt was incurred _

Last 4 digits of account number _

Nonpriority creditor's name and mailing address
HFAP
142 E. Ontario, 10th Floor
Chicago, IL 60611-2864

Date(s) debt was incurred _

Last 4 digits of account number _

Nonpriority creditor's name and mailing address
Hill Rom Co., Inc.
P.O. Box 643592
Pittsburgh, PA 15264

Date(s) debt was incurred _

Last 4 digits of account number _

Nonpriority creditor's name and mailing address
iMedxX, Inc.
P.O. Box 52217
Newark, NJ 07101-0220
Date(s) debt was incurred 2/2019

Last 4 digits of account number _

Nonpriority creditor's name and mailing address
IN State Central Coll. Unit
P.O. Box 7130
Indianapolis, IN 46207-7130

Date(s) debt was incurred _

Last 4 digits of account number _

Nonpriority creditor's name and mailing address
Indiana American Water
P.O. Box 94551
Palatine, IL 60094

Date(s) debt was incurred 4/2019

Last 4 digits of account number _

3.109 | Nonpriority creditor's name and mailing address

Indiana Poison Center
1701 N. Senate Avenue
Indianapolis, IN 46202

Date(s) debt was incurred _

Last 4 digits of account number _

Official Form 206 E/F
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com

Case number (if known) 19-9061 7-BHL-7

 

 

 

 

 

 

As of the petition filing date, the claim is: Check aff that apply. $161.20
Oo Contingent
D unliquidated
oO Disputed
Basis for the claim: Open Account
Is the claim subject to offset? Bn O Yes
As of the petition filing date, the claim is: Check al! that apply. $2,180.42
Oo Contingent
D unliquidated
Oo Disputed
Basis for the claim: Open Account
ts the claim subject to offset? Eno Oves
As of the petition filing date, the claim is: Check all that apply. $14,061.00
Oo Contingent
C1 unliquidated
oO Disputed
Basis for the claim: Open Account
Is the claim subject to offset? Zn O Yes
As of the petition filing date, the claim is: Check aif ihat apply. $1,640.18
O Contingent
OD unliquidated
oO Disputed
Basis for the claim: Open Account
is the claim subject to offset? Bn O Yes
As of the petition filing date, the claim is: Check aff that apply. $267.24
Oo Contingent
D unliquidated
D Disputed
Basis for the claim: Open Account
Is the claim subject to offset? Ml No O Yes
As of the petition filing date, the claim is: Check ail that apply. $1,992.68
oO Contingent
DO unliquidated
1 disputed
Basis for the claim: Open Account
Is the claim subject to offset? Eno Oves
As of the petition filing date, the claim is: Check ail that apply. $2,895.00
oO Contingent
D2 unliquidated
O Disputed
Basis for the claim: Open Account
Is the claim subject to offset? Byno Oves
Schedule E/F: Creditors Who Have Unsecured Claims Page 16 of 36

Best Case Bankruptcy
Case 19-90617-AKM-7A Doc54_ Filed 08/12/19 EOD 08/12/19 12:07:37 Pg 18 of 38

Debtor Kentuckiana Medical Center, LLC
Name

Nonpriority creditor's name and mailing address
Infab Corporation
1040 Avenida Acaso
Camarillo, CA 93012

Date(s) debt was incurred 2/2019
Last 4 digits of account number _

 

 

Nonpriority creditor's name and mailing address
Intec Building Services
3812 Bardstown Road
Louisville, KY 40218

Date(s) debt was incurred 4/2019

Last 4 digits of account number __

 

Nonpriority creditor’s name and mailing address
Integra Lifesciences
P.O. Box 404129
Atlanta, GA 30384-4129

Date(s) debt was incurred _

Last 4 digits of account number _

 

3.113 | Nonpriority creditor's name and mailing address

Integrated Rental Services
2601 Stanley Gault Pkwy.
Louisville, KY 40223

Date(s) debt was incurred through 4/2019
Last 4 digits of account number _

Nonpriority creditor's name and mailing address
J & J Health Care Systems
P.O. Box 406663
Atlanta, GA 30384
Date(s) debt was incurred _through 3/2019

Last 4 digits of account number _

 

 

Nonpriority creditor's name and mailing address
J & S Cleaning, LLC
237 Tammy Lane
Shepherdsville, KY 40165

Date(s) debt was incurred through 2/2019
Last 4 digits of account number _

Nonpriority creditor's name and mailing address
J2S Medical
1002 Ford Circle, Suite D
Milford, OH 45150

Date(s) debt was incurred through 3/2019

Last 4 digits of account number _

Official Form 206 E/F
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com

As of the petition filing date, the claim is: Check aif that apply.
O Contingent

D0 unliquidated

D1 Disputed

Basis for the claim: Open Account

Is the claim subject to offset? Hino Dyes

 

As of the petition filing date, the claim is: Check aif that apply.
Oo Contingent

QO Unliquidated

Oo Disputed

Basis for the claim: Open Account

Is the claim subject to offset? Hno Oves

As of the petition filing date, the claim is: Check aif that apply.
O Contingent

D0 uniiquidated

O Disputed

Basis for the claim: Open Account

Is the claim subject to offset? Bn O Yes

As of the petition filing date, the claim is: Check ail that apply.
O Contingent

D1 unliquidated

Oo Disputed

Basis for the claim: Open Account
Is the claim subject to offset? Eno Oves

As of the petition filing date, the claim is: Check aif that apply.
oO Contingent

O unliquidated

Oo Disputed

Basis for the claim: Open Account

Is the claim subject to offset? Bno Oves

 

As of the petition filing date, the claim is: Check ail that apply.
Oo Contingent

DO unliquidated

Oo Disputed

Basis for the claim: Open Account

Is the claim subject to offset? Bn O Yes

 

As of the petition filing date, the claim is: Check aif that apply.
oO Contingent

0 uniiquidated

O pisputed

Basis for the claim: Open Account

Is the claim subject to offset? Ml No O1 ves

Schedule E/F: Creditors Who Have Unsecured Claims

Case number (if known) 19-90617-BHL-7

$1,916.35

$6,000.00

_ $2,390.46

$19,239.97

$25,056.98

 

$2,544.00

$1,612.85

Page 17 of 36
Best Case Bankruptcy
Debtor

Kentuckiana Medical Center, LLC
Name

 

3.117 | Nonpriority creditor's name and mailing address

Jewish Hospital & S.M.H.
P.O. Box 645440
Pittsburgh, PA 15264-5252

Date(s) debt was incurred 4/2019

Last 4 digits of account number _

 

Johnson & Johnson Finance Corporation
c/o Katten Muchin Rosenman LLP

2029 Century Park East, Suite 2600

Los Angeles, CA 90067-3012

Date(s) debt was incurred 2013

Last 4 digits of account number _

3.119 | Nonpriority creditor's name and mailing address

3.120 | Nonpriority creditor's name and mailing address

Johnson Controls Fire Protection LP
Dept. CH 10320
Palatine, IL 60055-0320

Date(s) debt was incurred 4/2019

Last 4 digits of account number _

KCI USA
P.O. Box 301557
Dallas, TX 75303-1557

Date(s) debt was incurred through 3/2019
Last 4 digits of account number _

 

3.121 | Nonpriority creditor's name and mailing address

KHEAA / Kentucky Higher Education
Assistance Authority

10180 Linn Station Road

Louisville, KY 40223

Date(s) debt was incurred _

Last 4 digits of account number __

3.122 | Nonpriority creditor's name and mailing address

KMC Real Estate Investors, LLC
760 NW 107th Avenue, 4th Floor
Miami, FL 33172

Date(s) debt was incurred 2013

Last 4 digits of account number _

 

3.123 | Nonpriority creditor's name and mailing address

Official Form 206 E/F

Kort Rehab @ Home
3626 Grantline Road
New Albany, IN 47150-6417

Date(s) debt was incurred 4/2019

Last 4 digits of account number _

Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com

Schedule E/F: Creditors Who Have Unsecured Claims

 

Case 19-90617-AKM-7A Doc54_ Filed 08/12/19 EOD 08/12/19 12:07:37 Pg 19 of 38

Case number (if known) 19-9061 7-BHL-7
As of the petition filing date, the claim is: Check aif that apply.

D Contingent

D1 unliquidated

oO Disputed

Basis for the claim: Open Account

$344.00

Is the claim subject to offset? Bno Oves

As of the petition filing date, the claim is: Check ai that apply. $22,311.70
oO Contingent

D unliquidated

O Disputed

Basis for the claim: Promissory Note associated with prior Chapter 11

bankruptcy
Is the claim subject to offset? Mino O Yes

As of the petition filing date, the claim is: Check all that apply. $212.97
DO Contingent
0 unliquidated

DO bDisputed
Basis for the claim: Open Account
Is the claim subject to offset? = No Dyes

As of the petition filing date, the claim is: Check aif that apply.
oO Contingent

CZ unliquidated

oO Disputed

Basis for the claim: Open Account

$14,769.69

Is the claim subject to offset? Zn O Yes

 

As of the petition filing date, the claim is: Check aif that apply. $201.95

Oo Contingent

D1 unliquidated

D Disputed

Basis for the claim: Open Account

Is the claim subject to offset? Eno Oves

Unknown

As of the petition filing date, the claim is: Check aif that apply.
O Contingent

DO unliquidated

Oo Disputed

Basis for the claim: Potential deficiency arising from termination of lease.

Is the claim subject to offset? Bn O Yes

 

 

As of the petition filing date, the claim is: Check al! that apply.
oO Contingent

D0 unliquidated

D bisputea

Basis for the claim: Open Account

Is the claim subject to offset? Byno Oves

$360.00

Page 18 of 36
Best Case Bankruptcy
Case 19-90617-AKM-7A Doc54_ Filed 08/12/19 EOD 08/12/19 12:07:37 Pg 20 of 38

Debtor Kentuckiana Medical Center, LLC

Name

Nonpriority creditor's name and mailing address
Landauer, Inc.
P.O. Box 809051
Chicago, IL 60680

Date(s) debt was incurred 3/2019

Last 4 digits of account number _

 

Nonpriority creditor's name and mailing address
Lantheus Medical Imaging, Inc.
P.O. Box 101236
Atlanta, GA 30392-1236

Date(s) debt was incurred _

Last 4 digits of account number _

Nonpriority creditor's name and mailing address
Renato LaRocca
676 S. Floyd Street
Louisville, KY 40202
Date(s) debt was incurred 2013

Last 4 digits of account number _

Nonpriority creditor's name and mailing address
Renato LaRocca
2201 Goshen Lane
Goshen, KY 40026-9514

Date(s) debt was incurred 2013

Last 4 digits of account number _

3.128 | Nonpriority creditor's name and mailing address

Renato LaRocca
2201 Goshen Lane
Goshen, KY 40026-9514

Date(s) debt was incurred 2013

Last 4 digits of account number _

Nonpriority creditor's name and mailing address
Level 3 Communications, LLC
P.O. Box 910182
Denver, CO 80291-0182

Date(s) debt was incurred 4/2019

Last 4 digits of account number _

 

Nonpriority creditor's name and mailing address
LG&E
P.O. Box 9001960
Louisville, KY 40290-1960

Date(s) debt was incurred _
Last 4 digits of account number 6498

Official Form 206 E/F
Software Copyright (¢) 1996-2019 Best Case, LLC - www.bestcase.com

Schedule E/F: Creditors Who Have Unsecured Claims

 

 

Case number (if known) 19-90617-BHL-7
As of the petition filing date, the claim is: Check aif that apply.

oO Contingent

Oo Unliquidated

D pisputed

Basis for the claim: Open Account

Is the claim subject to offset? Byno Oves

$3,112.80

As of the petition filing date, the claim is: Check ai! that apply. $9,000.00
Oo Contingent
D unliquidated

D1 Disputed

Basis for the claim: Open Account
Is the claim subject to offset? Bn O Yes

$300,000.00

As of the petition filing date, the claim is: Check all that apply.
@ Contingent

i Uniiquidated

@ Disputed

Basis for the claim: Promissory Note associated with prior Chapter 11
bankruptcy

Is the claim subject to offset? ze No O) ves

As of the petition filing date, the claim is: Check aif that apply. $348,747.95
O Contingent

0 untiquidated

oO Disputed

Basis for the claim: Promissory Note associated with prior Chapter 11
bankruptcy

Is the claim subject to offset? Bno Oves

 

As of the petition filing date, the claim is: Check all that apply.
O Contingent

D0 unliquidated

O Disputed

Basis for the claim: Promissory Note associated with prior Chapter 11
bankruptcy

Is the claim subject to offset? Bn O Yes

$30,689.82

 

 

 

 

As of the petition filing date, the claim is: Check aif that apply. $4,913.60
O Contingent

DO unliquidated

oO Disputed

Basis for the claim: Open Account

Is the claim subject to offset? Bno Oves

As of the petition filing date, the claim is: Check aif that apply. $1,809.96
O Contingent

D0 unliquidated

Oo Disputed

Basis for the claim: Open Account

Is the claim subject to offset? Bn O Yes

 

Page 19 of 36
Best Case Bankruptcy
Case 19-90617-AKM-7A Doc54_ Filed 08/12/19 EOD 08/12/19 12:07:37 Pg 21 of 38

Debtor Kentuckiana Medical Center, LLC
Name

Nonpriority creditor's name and mailing address
Life Safety Services
908 S. 8th Street, Suite 500
Louisville, KY 40203

Date(s) debt was incurred _

Last 4 digits of account number _

Nonpriority creditor's name and mailing address
Lifecell Corporation

One Millennium Way

Branchburg, NJ 08876

Date(s) debt was incurred 2018

Last 4 digits of account number _

Nonpriority creditor's name and mailing address
M & M Office Products
110 S. Indiana Avenue, Suite A
Sellersburg, IN 47172

Date(s) debt was incurred 3/2019

 

Last 4 digits of account number _

Nonpriority creditor's name and mailing address
Magview
3915 National Drive, Suite 200
Burtonsville, MD 20866

Date(s) debt was incurred 2018

 

Last 4 digits of account number _

Nonpriority creditor's name and mailing address
Maine Standards
221 US Route 1
Cumberland Foreside, ME 04110

Date(s) debt was incurred 2018

Last 4 digits of account number _

 

Nonpriority creditor's name and mailing address
Maquet Medical Systems, USA
P.O. Box 775436
Chicago, IL 60677-5436

Date(s) debt was incurred 2018

Last 4 digits of account number _

Nonpriority creditor's name and mailing address
Marketlab, Inc.
Dept. 2506
P.O, Box 11407
Birmingham, AL 35246-2506

Date(s) debt was incurred _

 

Last 4 digits of account number =

 

Official Form 206 E/F
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com

Case number (if known) 19-90617-BHL-7

As of the petition filing date, the claim is: Check aif that apply.
D Contingent

DO unliquidated

D1 Disputed

Basis for the claim: Open Account
Is the claim subject to offset? Eno Oves

As of the petition filing date, the claim is: Check af that apply.
Oo Contingent

DO unliquidated

OD disputed

Basis for the claim: Open Account

Is the claim subject to offset? Mn O Yes

As of the petition filing date, the claim is: Check aff that apply.

0 Contingent
Di unliquidated
Oo Disputed

Basis for the claim: Open Account
is the claim subject to offset? x No Oyes

 

As of the petition filing date, the claim is: Check all that apply.
O Contingent

D1 unliquidated

oO Disputed

Basis for the claim: Open Account

Is the claim subject to offset? Mi No O Yes

As of the petition filing date, the claim is: Check ail that apply.
0 Contingent

D0 unliquidated

C1 Disputed

Basis for the claim: Open Account
Is the claim subject to offset? MI No O Yes

 

As of the petition filing date, the claim is: Check aif that apply.
Oo Contingent

D1 unliquidated

oO Disputed

Basis for the claim: Open Account

Is the claim subject to offset? En O Yes

As of the petition filing date, the claim is: Check aif that apply.
O Contingent

CZ unliquidated

Oo Disputed

Basis for the claim: Open Account

Is the claim subject to offset? MNo O1 ves

 

Schedule E/F: Creditors Who Have Unsecured Claims

$5,884.00

$2,058.00

$7,201.10

$4,589.10

‘$1,166.11

$5,090.00

$4,974.14

Page 20 of 36
Best Case Bankruptcy
Case 19-90617-AKM-7A Doc 54

Debtor Kentuckiana Medical Center, LLC
Name
Nonpriority creditor's name and mailing address
John W. McConnell
c/o Dinsmore & Shohl, LLP
101 S. Fifth Street, Suite 2500
Louisville, KY 40202-3115
Date(s) debt was incurred 2013

Last 4 digits of account number _

Nonpriority creditor's name and mailing address
McKesson Technologies, Inc.
P.O. Box 634404
Cincinnati, OH 45263-4404

Date(s) debt was incurred _

Last 4 digits of account number _

Nonpriority creditor's name and mailing address
Medistreams
P.O. Box 888387
Atlanta, GA 30356
Date(s) debt was incurred 4/2019

Last 4 digits of account number _

Nonpriority creditor's name and mailing address
Medivators
14605 28th Ave. North
Minneapolis, MN 55447
Date(s) debt was incurred through 2/2019

Last 4 digits of account number _

Nonpriority creditor's name and mailing address
Medline Industries, Inc.
P.O. Box 382075
Pittsburgh, PA 15251-8075

Date(s) debt was incurred 4/2019

Last 4 digits of account number _

 

 

3.143 | Nonpriority creditor's name and mailing address

Medrad, Inc.

c/o Bayer Corp.

3930 Edison Lakes Parkway
Mishawaka, IN 46545-3443

Date(s) debt was incurred 2013

Last 4 digits of account number _

 

Nonpriority creditor's name and mailing address
Medtronic USA, Inc.
4642 Coilection Center Drive
Chicago, IL 60693-0046

Date(s) debt was incurred 3/2019

Last 4 digits of account number _

 

Filed 08/12/19 EOD 08/12/19 12:07:37 Pg 22 of 38

Case number (if known) 19-90617-BHL-7

As of the petition filing date, the claim is: Check aif that apply. $2,789.98
Oo Contingent

D unliquidated

D bisputed

Basis for the claim: Promissory Note associated with prior Chapter 11
bankruptcy

ts the claim subject to offset? Bno Oves

 

As of the petition filing date, the claim is: Check aif that apply. $289.83
oO Contingent

D untiquidated

DO Disputed

Basis for the claim: Open Account

Is the claim subject to offset? 8 No 0 Yes

As of the petition filing date, the claim is: Check all that apply. $79.90
oO Contingent

D unliquidated

O Disputed

Basis for the claim: Open Account

Is the claim subject to offset? Bno Oves

 

As of the petition filing date, the claim is: Check aif that apply. $9,229.97
O Contingent

0 uniiquidated

C1 Disputed

Basis for the claim: Open Account

Is the claim subject to offset? MNo 1 Yes

 

As of the petition filing date, the claim is: Check aif that apply. $42,198.71
QO Contingent

DO unliquidated

Oo Disputed

Basis for the claim: Open Account

Is the claim subject to offset? Bno Oves

As of the petition filing date, the claim is: Check ail that apply. $5,579.97
D Contingent

DO unliquidated

Oo Disputed

Basis for the claim: Promissory Note associated with prior Chapter 11
bankruptcy

Is the claim subject to offset? Bno Oves

As of the petition filing date, the claim is: Check aif that apply. $9,512.00
Oo Contingent

D5 unliquidated

DO Disputed

Basis for the claim: Open Account

Is the claim subject to offset? Bn O Yes

 

 

Official Form 206 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 21 of 36

Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com

Best Case Bankruptcy
Case 19-90617-AKM-7A Doc 54

Debtor Kentuckiana Medical Center, LLC _
Name
Nonpriority creditor's name and mailing address
Midwest Medical Systems, LLC
655 Congress Park Drive
Dayton, OH 45459

Date(s) debt was incurred _

 

Last 4 digits of account number _

Nonpriority creditor's name and mailing address
MiMedX Group, Inc.
1775 West Oak Commons Ct. NE
Marietta, GA 30062
Date(s) debt was incurred through 2/2019

Last 4 digits of account number _

Nonpriority creditor's name and mailing address
Mindseeker, Inc.
P.O. Box 743672
Atlanta, GA 30384-3672
Date(s) debt was incurred through 2/2019

Last 4 digits of account number _

Nonpriority creditor's name and mailing address
Mobile Instrument Service
333 Water Avenue
Bellefontaine, OH 43311

Date(s) debt was incurred _
Last 4 digits of account number _

Nonpriority creditor's name and mailing address
New Benefits, Ltd.
14240 Proton Road
Dallas, TX 75244

Date(s) debt was incurred _

Last 4 digits of account number _

Nonpriority creditor's name and mailing address
New Chapel EMS
P.O. Box 1374
New Albany, IN 47151-1374
Date(s) debt was incurred through 2/2019

Last 4 digits of account number _

 

Nonpriority creditor's name and mailing address
Northgate Medical Imaging

P.O. Box 950225

Louisville, KY 40295

Date(s) debt was incurred _

 

Last 4 digits of account number _

Official Form 206 E/F
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com

 

Case number (if known)

As of the petition filing date, the claim is: Check ail that apply.
Oo Contingent

D unliquidated

OD disputed

Basis for the claim: Open Account
Is the claim subject to offset? Mno Oves

As of the petition filing date, the claim is: Check aif that apply.
oO Contingent

C1 unliquidated

OC Disputed

Basis for the claim: Open Account

ts the claim subject to offset? Bn O Yes

 

As of the petition filing date, the claim is: Check ail that apply.
Oo Contingent

DF unliquidated

oO Disputed

Basis for the claim: Open Account
Is the claim subject to offset? Eno Oves

As of the petition filing date, the claim is: Check aif that apply.
O Contingent

OD unliquidated

O Disputed

Basis for the claim: Open Account
Is the claim subject to offset? Mno Oves

As of the petition filing date, the claim is: Check aif that apply.
oO Contingent

D1 unliquidated

0 Disputed

Basis for the claim: Open Account

Is the claim subject to offset? Ml No 1 Yes

 

As of the petition filing date, the claim is: Check ail that apply.

oO Contingent
DO unliquidated
Oo Disputed

Basis for the claim: Open Account

Is the claim subject to offset? Bno Oves

 

 

As of the petition filing date, the claim is: Check aif that apply.
Oo Contingent

D unliquidated

Oo Disputed

Basis for the claim: Open Account

Is the claim subject to offset? MI No O Yes

 

Schedule E/F: Creditors Who Have Unsecured Claims

19-90617-BHL-7

Filed 08/12/19 EOD 08/12/19 12:07:37 Pg 23 of 38

$751.18

$44,787.00

$46,395.00

$583.80

$975.00

$2,531.83

$2,204.28

Page 22 of 36
Best Case Bankruptcy
Case 19-90617-AKM-7A Doc54_ Filed 08/12/19 EOD 08/12/19 12:07:37 Pg 24 of 38

Debtor _Kentuckiana Medical Center, LLC Case number {itknown) — 19-90617-BHL-7
Name
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. $514.93
Norton Healthcare, Inc. CO contingent
Department 86100 O unliquidated
P.O. Box 36370 O pisputed

Louisville, KY 40233-6370

Basis for the claim: Open Account
Date(s) debt was incurred 2018 aels for the claim: .O)

Last 4 digits of account number Is the claim subject to offset? Ml No 1 yes

 

 

 

 

Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. ee $16,386.90
Norton Healthcare, Inc. D1 Contingent
Department 86100 0 unliquidated
P.O. Box 36370 oO Disputed
Louisville, KY 40233-6370 . . . .
201 Basis for the claim: Promissory Note associated with prior Chapter 11
Date(s) debt was incurred 3 bankruptcy
Last 4 digits of account number
~ Is the claim subject to offset? Hino Oves
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $32,523.7: 2
Novarad Corporation D Contingent
752 E. 1180 S, Suite 200 0 unliquidated
American Fork, UT 84003 D Disputed
Date(s) debt was incurred through 4/2019 Basis for the claim: Open Account

Last 4 digits of account number _
Is the claim subject to offset? Bno Oves

 

 

Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. $950.00
Nuvasive Clinical Services Monitoring D1 contingent
10275 Little Patuxent Pkwy. 0 Unliquidated
Columbia, MD 21044 DO Disputed
Date(s) debt was incurred 2018 Basis for the claim: Open Account

Last 4 digits of account number _
Is the claim subject to offset? Bno Oves

 

Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ai that apply. $842.31
Office of the Standing Trustee O1 contingent
200 S. 7th Street, Suite 310 D0 unliquidated
Louisville, KY 40202 C1 visputed
Date(s) debt was incurred _ Basis for the claim: Open Account

Last 4 digits of account number _
Is the claim subject to offset? Bino Oves

Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ai that apply. _ $3,046.29
Olympus America, Inc. O Contingent
P.O. Box 200194 D1 unliquidated
Pittsburgh, PA 15251 OD Disputed
Date(s) debt was incurred __ Basis for the claim: Open Account

Last 4 digits of account number _
Is the claim subject to offset? Bno Oves

 

Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. $9,992.83
Ortho-Clinical Diagnostics, Inc. O Contingent
P.O. Box 3655 D unliquidated
Carol Stream, IL 60132-3655 O Disputed
Date(s) debt was incurred through 3/2019 Basis for the claim: Open Account

Last 4 digits of account number _
Is the claim subject to offset? Bno Oves

Official Form 206 E/F Schedule E/F: Creditors Who Have Unsecured Ciaims Page 23 of 36
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com Best Case Bankruptcy
Case 19-90617-AKM-7A Doc54_ Filed 08/12/19 EOD 08/12/19 12:07:37 Pg 25 of 38

 

 

Debtor Kentuckiana Medical Center, LLC Case number (if known) 19-90617-BHL-7
Name =
3.159 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $4,569.50
Paragon 28, Inc. D1 Contingent
48 Inverness Court East, Suite 280 0 unliquidated
Englewood, CO 80112 O Disputed
Date(s) debt was incurred 2018 Basis for the claim: Open Account
Last 4 digits of account number _
Is the claim subject to offset? Ml No D Yes
3.160 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. - $507.00
Paycom Payroll, LLC CZ contingent
7501 W. Memorial Road C1 unliquidated
Oklahoma City, OK 73142 O pisputed
Date(s) debt was incurred _ Basis for the claim: Open Account

Last 4 digits of account number _
Is the claim subject to offset? Bn O Yes

 

Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $1 63.91
Performant Recovery, Inc. C1 Contingent
333 N. Canyons Parkway, Suite 100 1 untiquidated
Livermore, CA 94551 O pisputed
Date(s) debt was incurred __ Basis for the claim: Open Account

Last 4 digits of account number _
ls the claim subject to offset? z No Oyes

 

Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $1,085.45
Pfizer, Inc. D1 Contingent
P.O, Box 100539 D unliquidated
Atlanta, GA 30384-0539 1 pisputea
Date(s) debt was incurred 2018 Basis for the claim: Open Account

Last 4 digits of account number _
Is the claim subject to offset? Bno Oves

Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. $12,786.50
Philips Healthcare O contingent
22100 Bothell Evertt Hwy. O unliquidated
Bothell, WA 98021 0 Disputed
Date(s) debt was incurred 2018. Basis for the claim: Open Account

Last 4 digits of account number __
is the claim subject to offset? Mino Oves

 

Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. ___ $440,795.57
Physicians Primary Care, LLC Contingent
1804 E. 10th Street

Jeffersonville, IN 47130 H Uniquidated

 

 

Bp
Date(s) debt was incurred _ Disputed
Last 4 digits of account number _ Basis for the claim: Promissory Note associated with prior Chapter 11
bankruptcy
Is the claim subject to offset? a No Cl Yes
3.165 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $4,381.25
POW!, Inc. OD contingent
P.O. Box 523007 oO Unliquidated
Miami, FL 33152 C1 pisputed
Date(s) debt was incurred through 4/2019 Basis for the claim: Open Account

Last 4 digits of account number _
ts the claim subject to offset? Hino Oves

 

Official Form 206 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 24 of 36
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com Best Case Bankruptcy
3.167 | Nonpriority creditor's name and mailing address

Official Form 206 E/F

Case 19-90617-AKM-7A Doc 54 Filed 08/12/19 EOD 08/12/19 12:07:37 Pg 26 of 38

Kentuckiana Medical Center, LLC

Name

3.166 | Nonpriority creditor's name and mailing address

Precision Dynamics Corp.
P.O. Box 71549
Chicago, IL 60694-1995

Date(s) debt was incurred _

Last 4 digits of account number _

Priority Healthcare Dist.
dba Curascript SD

P.O. Box 978510
Dallas, TX 75397-8510

Date(s) debt was incurred _

Last 4 digits of account number _

 

3.168 | Nonpriority creditor's name and mailing address

Prodigy Health Supplier Corporation
P.O. Box 95429
Grapevine, TX 76099-9734

Date(s) debt was incurred through 4/2019

Last 4 digits of account number _

3.169 | Nonpriority creditor's name and mailing address

Progressive Medical, Inc.
997 Horan Drive
Fenton, MO 63026

Date(s) debt was incurred through 2/2019

Last 4 digits of account number _

3.170 | Nonpriority creditor's name and mailing address

Prosoft MEDantex
3080 Olcott Street, Suite 225D
Santa Clara, CA 95054-3244

Date(s) debt was incurred 2013

Last 4 digits of account number _

3.171 | Nonpriority creditor's name and mailing address

Case number (if known) 19-9061 7-BHL-7
As of the petition filing date, the claim is: Check aif that apply.
Oo Contingent

O unliquidated

0 Disputed

Basis for the claim: Open Account
Is the claim subject to offset? Hno Oves

$547.43

 

 

As of the petition filing date, the claim is: Check aif that apply. $536.14
oO Contingent

D0 unliquidated

oO Disputed

Basis for the claim: Open Account

Is the claim subject to offset? Bno Oves

As of the petition filing date, the claim is: Check ai! that apply.
Oo Contingent

DO unliquidated

Oo Disputed

Basis for the claim: Open Account

_ $10,504.89

Is the claim subject to offset? = No O yes

$3,192.66

 

As of the petition filing date, the claim is: Check aif that apply.
oO Contingent

D1 untiquidated

C1 Disputed

Basis for the claim: Open Account
Is the claim subject to offset? ig No LC Yes

 

As of the petition filing date, the claim is: Check ail that apply.
D Contingent

CO unliquidated

D1 Disputed

Basis for the claim: Promissory Note associated with prior Chapter 11
bankruptcy

Is the claim subject to offset? Byo Dyes

$42,494.23

 

$71,278.89

 

As of the petition filing date, the claim is: Check af that apply.
Q-Centrix D1 Contingent
aot ee klin, Suite 1800 1 Uniquidated
oO rankiin, Suttle Ooi
, Disputed
Chicago, IL 60606 P open A
Basis for the claim: Op ccoun
Date(s) debt was incurred _ asis for the claim en t
Last 4 digits of account number Is the claim subject to offset? Hino Oves
3.172 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aff that apply. $0.00
Quality Reimbursement Services, Inc. O contingent
ooo Dy Sedley. he 5 D1 unliquidated
ouglas, Suite Opi
. , Disputed
Irvine, CA 92612 Lawsuit
Basis for the claim: LawSul
Date(s) debt was incurred _ Ne ONE ee
Last 4 digits of account number fs the claim subject to offset? Hino Oves
Schedule E/F: Creditors Who Have Unsecured Claims Page 25 of 36
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com Best Case Bankruptcy
Case 19-90617-AKM-7A Doc54_ Filed 08/12/19 EOD 08/12/19 12:07:37 Pg 27 of 38

Debtor Kentuckiana Medical Center, LLC _
Name
Nonpriority creditor's name and mailing address
Quick Medical
30200 S.E. 79th St., Suite 120
Issaquah, WA 98027-8792

Date(s) debt was incurred 2018

Last 4 digits of account number _

Nonpriority creditor's name and mailing address
Zaka Rahman
c/o Ballinger McClain, PLLC
9720 Park Plaza Avenue, Suite 102
Louisville, KY 40241-2289
Date(s) debt was incurred 2013

Last 4 digits of account number __

Nonpriority creditor's name and mailing address
Raymond's Lawn Care, LLC
P.O. Box 2481
Jeffersonville, IN 47131

Date(s) debt was incurred _

 

Last 4 digits of account number _

Nonpriority creditor's name and mailing address
Reflex Graphics, Inc.
1902 Campus Place, Suite 11
Louisville, KY 40299

Date(s) debt was incurred _

Last 4 digits of account number _

Nonpriority creditor's name and mailing address
Repligen Corporation
41 Seyon Street, Bldg. 1, Suite 100
Waltham, MA 02453

Date(s) debt was incurred _

Last 4 digits of account number _

Nonpriority creditor's name and mailing address
Ronald R. Reynolds
c/o Cline Farrell Christie Lee & Bell PC
951 N. Delaware Street
Indianapolis, IN 46202

Date(s) debt was incurred 2017

Last 4 digits of account number _

3.179 | Nonpriority creditor's name and mailing address

Wanda L. Coghill Reynolds

c/o Cline Farrell Christie Lee & Bell PC
951 N. Delaware Street

Indianapolis, IN 46202

Date(s) debt was incurred 2017

 

Last 4 digits of account number _

Official Form 206 E/F
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com

 

 

 

Schedule E/F: Creditors Who Have Unsecured Claims

Case number (if known) 19-90617-BHL-7

As of the petition filing date, the claim is: Check aif that apply.
o Contingent

QO Uniiquidated

1 Disputed

Basis for the claim:_Open Account

Is the claim subject to offset? Bno Oves

$9,704.66

$12,275.93

 

As of the petition filing date, the claim is: Check af! that apply.
oO Contingent

O Unliquidated

oO Disputed

Basis for the claim: Promissory Note associated with prior Chapter 11
bankruptcy

Is the claim subject to offset? By O Yes

As of the petition filing date, the claim is: Check aif that apply. $1,675.00
Oo Contingent
0 unliquidated

Oo Disputed
Basis for the claim: Open Account

Is the claim subject to offset? Bno Oves

 

As of the petition filing date, the claim is: Check aif that apply. $74.63
oO Contingent

DO unliquidated

oO Disputed

Basis for the claim: Open Account
Is the claim subject to offset? Hn O Yes

As of the petition filing date, the claim is: Check aii that apply.
oO Contingent

Oo Unliquidated

Oo Disputed

Basis for the claim: Open Account

$471.77

|s the claim subject to offset? Eno O Yes

As of the petition filing date, the claim is: Check aii that apply. Unknown
a Contingent

B Uniiquidated

a Disputed

Basis for the claim: Potential Medical Malpractice Claim

Is the claim subject to offset? Bno Oves

As of the petition filing date, the claim is: Check ail that apply. Unknown,
a Contingent

Bi unliquidated

@ pisputed

Basis for the claim: Potential Medical Malpractice Claim

Is the claim subject to offset? Bno Oyes

 

Page 26 of 36
Best Case Bankruptcy
Case 19-90617-AKM-7A Doc54_ Filed 08/12/19 EOD 08/12/19 12:07:37 Pg 28 of 38

Debtor Kentuckiana Medicai Center, LLC

Name
Nonpriority creditor's name and mailing address
RL BB-IN KRE RE, LLC
Attn: Cheryl Baizan
760 NW 107th Avenue, 4th Floor
Miami, FL 33172

Date(s) debt was incurred through 4/2019

Last 4 digits of account number __

Nonpriority creditor's name and mailing address
RN Network
P.O. Box 974088
Dallas, TX 75397-4088
Date(s) debt was incurred 2018

Last 4 digits of account number _

Nonpriority creditor's name and mailing address
Roche Diagnostics Corp.
Mail Code 5508
P.O. Box 71209
Charlotte, NC 28272-1209

Date(s) debt was incurred _

Last 4 digits of account number _

Nonpriority creditor's name and mailing address
John Rumisek
c/o Ballinger McClain, PLLC
9720 Park Plaza Avenue, Suite 102
Louisville, KY 40241-2289
Date(s) debt was incurred 2013

Last 4 digits of account number _

Nonpriority creditor's name and mailing address
SCM True Air
5700 Poplar Level Road
Louisville, KY 40228
Date(s) debt was incurred through 2/2019

Last 4 digits of account number _

 

Nonpriority creditor's name and mailing address
Securitas Security
P.O, Box 403412
Atlanta, GA 30384

Date(s) debt was incurred through 4/2019

Last 4 digits of account number _

Nonpriority creditor's name and mailing address

Serc Products Corporation
P.O. Box 2127
New Albany, IN 47151

Date(s) debt was incurred _

Last 4 digits of account number _

Official Form 206 E/F
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com

Schedule E/F: Creditors Who Have Unsecured Claims

 

Case number (if known) 19-90617-BHL-7

As of the petition filing date, the claim is: Check aff that apply. $17,482,250.90
O Contingent

D0 unliquidated

DO Disputed

Basis for the claim: Lease of Business Premises

ts the claim subject to offset? Bino Oves

$47,709.75

As of the petition filing date, the claim is: Check aif that apply.
oO Contingent

D1 unliquidated

O Disputed

Basis for the claim: Open Account

Is the claim subject to offset? Hino Oves

 

As of the petition filing date, the claim is: Check aii that apply.

$667.17
O Contingent

OD unliquidated

O disputed

Basis for the claim: Open Account

Is the claim subject to offset? Bn O Yes

 

As of the petition filing date, the claim is: Check ail that apply. $45,720.86
O Contingent

0 unliquidated

Oo Disputed

Basis for the claim: Promissory Note associated with prior Chapter 11
bankruptcy

Is the claim subject to offset? Bn O Yes

 

As of the petition filing date, the claim is: Check aif that apply. $1,970.54
C Contingent
0 unliquidated

Oo Disputed
Basis for the claim: Open Account

Is the claim subject to offset? Ml No 1 Yes

 

As of the petition filing date, the claim is: Check ail that apply. $48,429.67
Oo Contingent
DO unliquidated

Oo Disputed
Basis for the claim: Open Account

Is the claim subject to offset? Brn O Yes

As of the petition filing date, the claim is: Check aif that apply.
oO Contingent

D unliquidated

O Disputed

Basis for the claim: Open Account

Is the claim subject to offset? Bno Dyes

$882.97

 

Page 27 of 36
Best Case Bankruptcy
Case 19-90617-AKM-7A Doc54_ Filed 08/12/19 EOD 08/12/19 12:07:37 Pg 29 of 38

 

 

 

 

 

 

 

 

Debtor Kentuckiana Medical Center, LLC Case number (if known) 19-90617-BHL-7 __
Name” ~ — —
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check al! that apply. _ $36,269.79
Anil Sharma DO contingent
7610 Beech Spring Farm Blvd. DO unliquidated
Louisville, KY 40241-6419 1 pisputed
Date(s) debt was incurred 2013 Basis for the claim: Promissory Note associated with prior Chapter 11
Last 4 digits of account number _ bankruptcy
Is the claim subject to offset? Hno Dyes
3.188 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $2,614.88
Shred-It USA, LLC D1 Contingent
28883 Network Place D0 unliquidated
Chicago, IL 60673-1288 C1 visputed
Date(s) debt was incurred 4/2019 Basis for the claim: Open Account
Last 4 digits of account number _
Is the claim subject to offset? En O Yes
3.189 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $3,800.00
Siemens H-Care Diagnostic D contingent
P.O. Box 121102 0 unliquidated
Dallas, TX 75312-1102 O bDisputed
Date(s) debt was incurred 2018 Basis for the claim: Open Account
Last 4 digits of account number _
is the claim subject to offset? MI No D1 Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. _ $31,21 9.74
Siemens Medical Solutions USA, Inc. D1 contingent
40 Liberty Blvd. D unliquidated
Malvern, PA 19355 C1 disputed
Date(s) debt was incurred through 3/2019 Basis for the claim: Open Account
Last 4 digits of account number _
Is the claim subject to offset? Bno Oves
3.191 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. _ $2,91 6.09
Smart Care Equipment Solutions DO Contingent
P.O. Box 74008980 CI unliquidated
Chicago, IL 60674 O pisputed
Date(s) debt was incurred 2018 Basis for the claim: Open Account
Last 4 digits of account number _
Is the claim subject to offset? En O Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check al that apply. $6,768.85
Smith & Nephew, Inc. Oi Contingent
P.O. Box 205651 CO unliquidated
Dallas, TX 75320-5651 C Disputed
Date(s) debt was incurred 2018 Basis for the claim: Open Account
Last 4 digits of account number _
Is the claim subject to offset? Bn O Yes
3.193 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $5,477.86
South Bend Med Foundation O1 Contingent
118 W. Edison Road 0 unliquidated
Mishawaka, IN 46545-3143 O disputed
Date(s) debt was incurred _ Basis for the claim: Open Account
Last 4 digits of account number _
Is the claim subject to offset? Mino Oves
Official Form 206 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 28 of 36
Software Copyright (c) 1896-2019 Best Case, LLC - www.bestcase.com Best Case Bankruptcy
Case 19-90617-AKM-7A Doc54 Filed 08/12/19 EOD 08/12/19 12:07:37 Pg 30 of 38

Debtor Kentuckiana Medical Center, LLC _

 

Name

3.194 | Nonpriority creditor's name and mailing address

Spectranetics Corporation

9965 Federal Drive

Colorado Springs, CO 80921
Date(s) debt was incurred 2018

Last 4 digits of account number _

3.195 | Nonpriority creditor's name and mailing address

St. Jude Medical, Inc.
22400 Network Place

Chicago, iL 60673-1224
Date(s) debt was incurred 2013

Last 4 digits of account number __

3.1986 | Nonpriority creditor's name and mailing address
Staples Business Advantage

P.O. Box 660409

Dallas, TX 75266-0409

Date(s) debt was incurred through 4/2019

Last 4 digits of account number _

3.197 | Nonpriority creditor's name and mailing address

Stemler Corporation
1001 Penn Street

Jeffersonville, IN 47130

Date(s) debt was incurred _

Last 4 digits of account number _

 

3.198 | Nonpriority creditor's name and mailing address

Steris Corporation
Lockbox #771652

1652 Solution Center

Chicago, IL 60677

Date(s) debt was incurred 2018

 

3.199 | Nonpriority creditor's name and mailing address
Steris Instrument Management Services

P.O. Box 531809
Atlanta, GA 30353

Date(s) debt was incurred 2018

Last 4 digits of account number _

3.200 | Nonpriority creditor's name and mailing address

Kimberly Stewart

c/o The Poppe Law Firm
8700 Westport Road, Suite 201

Louisville, KY 40242

Date(s) debt was incurred 2014

Last 4 digits of account number _

Official Form 206 E/F

Last 4 digits of account number _

 

 

 

 

Case number (if known) _19-90617-BHL-7

As of the petition filing date, the claim is: Check al that apply. $9,881.45
0 Contingent

C0 unliquidated

oO Disputed

Basis for the claim: Open Account

Is the claim subject to offset? Eno Oves

As of the petition filing date, the claim is: Check aif that apply. _ $162,573.16
O Contingent

D0 untiguidated

Oo Disputed

 

Basis for the claim: Promissory Note associated with prior Chapter 11
bankruptcy

Is the claim subject to offset? Eno Oves

 

As of the petition filing date, the claim is: Check aif that apply. $5,195.39
Oo Contingent

D unliquidated

oO Disputed

Basis for the claim: Open Account

Is the claim subject to offset? Eno Oves

As of the petition filing date, the claim is: Check aif that apply. __ $300.00
O Contingent

OF unliquidated

Oo Disputed

Basis for the claim: Open Account

Is the claim subject to offset? Eno Oves

 

As of the petition filing date, the claim is: Check al! that apply. $2,190.58
D Contingent

oO Unliquidated

D Disputed

Basis for the claim: Open Account

Is the claim subject to offset? Hno Dyes

As of the petition filing date, the claim is: Check aif that apply. $3,533.79
oO Contingent

D0 untiquidated

O Disputed

Basis for the claim: Open Account
Is the claim subject to offset? Bn O Yes

 

As of the petition filing date, the claim is: Check aif that apply. _Unknown
= Contingent

& Uniiquidated

a Disputed

Basis for the claim: Potential Medical Malpractice Claim

 

Is the claim subject to offset? Bno Oves

Schedule E/F: Creditors Who Have Unsecured Claims Page 29 of 36
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com

Best Case Bankruptcy
Case 19-90617-AKM-7A Doc54_ Filed 08/12/19 EOD 08/12/19 12:07:37 Pg 31 of 38

Debtor Kentuckiana Medical Center, LLC

Name

Nonpriority creditor's name and mailing address

Mio M. Stikovac
7211 Doe Crest Court
Prospect, KY 40059-9488

Date(s) debt was incurred 2013

Last 4 digits of account number _

Nonpriority creditor's name and mailing address
Stimwave, LLC
1310 Park Central Blvd. South
Pompano Beach, FL 33064

Date(s) debt was incurred 2018

Last 4 digits of account number _

3.203 | Nonpriority creditor's name and mailing address

Stryker Endoscopy
P.O. Box 93276
Chicago, IL 60673

Date(s) debt was incurred through 4/2019
Last 4 digits of account number _

Nonpriority creditor's name and mailing address
Sunorah Hospitality Mgmt. Services, Inc.
1058 N. Bedford Court
Wichita, KS 67206-4353

Date(s) debt was incurred 2013

Last 4 digits of account number _

Nonpriority creditor's name and mailing address
Sysco/Louisville Food Services
P.O. Box 32470
Louisville, KY 40232-2470

Date(s) debt was incurred 3/2019

Last 4 digits of account number __

 

Nonpriority creditor's name and mailing address
Sysco/Louisville Food Services
P.O. Box 32470
Louisville, KY 40232-2470

Date(s) debt was incurred 2013

Last 4 digits of account number __

Nonpriority creditor's name and mailing address
Sysmex America, Inc.
39923 Treasury Court
Chicago, IL 60694-9900

Date(s) debt was incurred 2013

Last 4 digits of account number _

Official Form 206 E/F
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com

Schedule E/F: Creditors Who Have Unsecured Claims

Case number (if known) 19-9061 7-BHL-7

As of the petition filing date, the claim is: Check aif that apply.
oO Contingent

D0 unliquidated

C1 Disputed

Basis for the claim: Promissory Note associated with prior Chapter 114
bankruptcy

Is the claim subject to offset? Bno Oves

$36,269.79

As of the petition filing date, the claim is: Check aif that apply. $20,500.00
oO Contingent
0 Unliquidated

oO Disputed

Basis for the claim: Open Account
Is the claim subject to offset? a No D1 yes

As of the petition filing date, the claim is: Check ail that apply.
QO Contingent

Oo Unliquidated

O Disputed

Basis for the claim: Open Account

$8,285.93

|s the claim subject to offset? Bn O Yes

$16,953.45

 

As of the petition filing date, the claim is: Check aff that apply.
Oo Contingent

CJ unliquidated

oO Disputed

Basis for the claim: Promissory Note associated with prior Chapter 11
bankruptcy

Is the claim subject to offset? Bno Oves

As of the petition filing date, the claim is: Check aif that apply. $9,038.34
Oo Contingent

CO unliquidated

0 Disputed

Basis for the claim: Open Account

Is the claim subject to offset? Eno Oves

As of the petition filing date, the claim is: Check aif that apply. $9,831.08
oO Contingent

D unliquidated

O] Disputed

Basis for the claim: Promissory Note associated with prior Chapter 11
bankruptcy
Is the claim subject to offset? a No O yes

As of the petition filing date, the claim is: Check aif that apply. $45,490.12
O Contingent

D0 unliquidated

oO Disputed

Basis for the claim: Promissory Note associated with prior Chapter 11
bankruptcy

Is the claim subject to offset? Mino [ves

Page 30 of 36
Best Case Bankruptcy
Case 19-90617-AKM-7A Doc54_ Filed 08/12/19 EOD 08/12/19 12:07:37 Pg 32 of 38

Debtor Kentuckiana Medical Center, LLC
Name

Nonpriority creditor's name and mailing address
Sysmex America, Inc.
39923 Treasury Court
Chicago, IL 60694-9900

Date(s) debt was incurred _

Last 4 digits of account number _

 

Nonpriority creditor's name and mailing address
T2B Solutions, LLC
P.O. Box 43
Indianola, IA 50125

Date(s) debt was incurred 4/2019

Last 4 digits of account number _

Nonpriority creditor's name and mailing address
Teleflex Medical
Arrow International
P.O. Box 60519
Charlotte, NC 28260

Date(s) debt was incurred _

Last 4 digits of account number _

 

3.211 | Nonpriority creditor's name and mailing address
The Society of Thoracic Surgeons
P.Q. Box 809265
Chicago, IL 60680-9265

Date(s) debt was incurred 2018
Last 4 digits of account number _

Nonpriority creditor's name and mailing address
TigerConnect
2110 Broadway
Santa Monica, CA 90404

Date(s) debt was incurred through 3/2019

Last 4 digits of account number _

 

 

Nonpriority creditor's name and mailing address
Time Warner Cable
P.O. Box 1060
Carol Stream, IL 60132-1060

Date(s) debt was incurred through 4/2019
Last 4 digits of account number _

Nonpriority creditor's name and mailing address
Toray International America, Inc.
140 Cypress Station Drive
Houston, TX 77090

Date(s) debt was incurred __

Last 4 digits of account number _

Official Form 206 E/F
Software Copyright {c) 1996-2019 Best Case, LLC - www.bestcase.com

Schedule E/F: Creditors Who Have Unsecured Claims

Case number (if known) _19-90617-BHL-7

As of the petition filing date, the claim is: Check ali that apply.
O Contingent

DC Unliquidated

Oo Disputed

Basis for the claim: Open Account

Is the claim subject to offset? Byno Oves

$2,825.00

 

As of the petition filing date, the claim is: Check ail that apply. $438.60
Oo Contingent
Oo Unliquidated

O Disputed
Basis for the claim: Open Account

Is the claim subject to offset? Bno Dyes

 

As of the petition filing date, the claim is: Check aif that apply. $2,971.27
Oo Contingent
DO unliquidated

Oo Disputed

Basis for the claim: Open Account
Is the claim subject to offset? 0 No O yes

As of the petition filing date, the claim is: Check ai that apply. $4,550.00
Oo Contingent

D unliquidated

oO Disputed

Basis for the claim: Open Account

Is the claim subject to offset? Bno Oves

 

As of the petition filing date, the claim is: Check ai that apply.
Oo Contingent

DO unliquidated

Oo Disputed

Basis for the claim: Open Account

$4,222.67

Is the claim subject to offset? Bn O Yes

As of the petition filing date, the claim is: Check aif that apply. $3,398.07
O Contingent

DO unliquidated

D Disputed

Basis for the claim: Open Account

$3,500.00

Is the claim subject to offset? Hino Oves

As of the petition filing date, the claim is: Check af! that apply.
O Contingent

C unliquidated

1 pisputea

Basis for the claim: Open Account
Is the claim subject to offset? Bno Oves

 

 

Page 31 of 36
Best Case Bankruptcy
Case 19-90617-AKM-7A Doc54_ Filed 08/12/19 EOD 08/12/19 12:07:37 Pg 33 of 38

Debtor Kentuckiana Medical Center, LLC
Name
Nonpriority creditor's name and mailing address
Truven Health Analytics
P.O. Box 95334
Chicago, IL 60694-5334

Date(s) debt was incurred 2018

 

Last 4 digits of account number _

Nonpriority creditor's name and mailing address
U.S. Specialties
2205 River Road
Louisville, KY 40206

Date(s) debt was incurred _

Last 4 digits of account number _

3.217 | Nonpriority creditor's name and mailing address

Unified Healthcare, LLC
11700 Commonwealth Drive, Suite 700
Louisville, KY 40299

Date(s) debt was incurred _

Last 4 digits of account number _

Nonpriority creditor's name and mailing address
V2 Global, LLC
3121 Commodore Plaza, Suite 30
Miami, FL 33133

Date(s) debt was incurred _

Last 4 digits of account number _

Nonpriority creditor's name and mailing address
Vectren Energy Delivery
P.O. Box 6248
Indianapolis, IN 46206-6248

Date(s) debt was incurred 4/2019

Last 4 digits of account number _

Nonpriority creditor's name and mailing address
Verizon Wireless
P.O. Box 25505
Lehigh Valley, PA 18002-5505
Date(s) debt was incurred 3/2019

Last 4 digits of account number _

Nonpriority creditor’s name and mailing address
Vertos Medical, Inc.
95 Enterprise, Suite 325
Aliso Viejo, CA 92656

Date(s) debt was incurred through 2/2019

Last 4 digits of account number _

 

Official Form 206 E/F
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com

 

Schedule E/F: Creditors Who Have Unsecured Claims

Case number (if known) 19-90617. -BHL-7 _

As of the petition filing date, the claim is: Check al that apply.
O Contingent

O Unliquidated

D1 Disputed

Basis for the claim: Open Account

$3,509.38

Is the claim subject to offset? Bn O Yes

As of the petition filing date, the claim is: Check aif that apply. $148.40
Oo Contingent

DO unliquidated

O Disputed

Basis for the claim: Open Account

\s the claim subject to offset? Eno Oves

As of the petition filing date, the claim is: Check ai that apply.
O Contingent

D unliquidated

0 Disputed

Basis for the claim: Open Account
Is the claim subject to offset? Bno Oves

$1,870.00

 

As of the petition filing date, the claim is: Check ai! that apply. $26,104.26
QO Contingent
D1 unliquidated

1 Disputed
Basis for the claim: Open Account

Is the claim subject to offset? MNo O11 ves

As of the petition filing date, the claim is: Check aif that apply.
oO Contingent

Oo Unliquidated

O Disputed

Basis for the claim: Open Account

$2,381.66

Is the claim subject to offset? CONo Byes

 

As of the petition filing date, the claim is: Check all that apply.
oj Contingent

DO unliquidated

O Disputed

Basis for the claim: Open Account

ts the claim subject to offset? Eno Oves

$1,935.85

$8,116.92

 

As of the petition filing date, the claim is: Check aif that apply.
O Contingent

D unliquidated

oO Disputed

Basis for the claim: Open Account

Is the claim subject to offset? Bno Oves

 

Page 32 of 36
Best Case Bankruptcy
Case 19-90617-AKM-7A Doc54_ Filed 08/12/19 EOD 08/12/19 12:07:37 Pg 34 of 38

Debtor Kentuckiana Medical Center, LLC _
Name

Nonpriority creditor's name and mailing address
Vitalitec International, Inc.
10 Cordage Park Circle, Suite 200
Plymouth, MA 02360

Date(s) debt was incurred 2/2019

Last 4 digits of account number _

Nonpriority creditor's name and mailing address
W.L. Gore & Associates, Inc.
1505 N. 4th Street
Flagstaff, AZ 86004-5867
Date(s) debt was incurred 2013

Last 4 digits of account number _

Nonpriority creditor's name and mailing address
Waste Management
P.O. Box 9001054
Louisville, KY 40290
Date(s) debt was incurred 4/2019

Last 4 digits of account number _

Nonpriority creditor's name and mailing address
Welch Allyn, Inc.
4341 State Street Road
Skaneateles Falls, NY 13153
Date(s) debt was incurred 3/2019

Last 4 digits of account number _

Nonpriority creditor's name and mailing address
Westerkamp Group, LLC
701 Warrenville Road, Suite 120
Lisle, IL 60532

Date(s) debt was incurred _

Last 4 digits of account number _

Nonpriority creditor's name and mailing address
Windstream Communications
Norlight, Inc.
P.O. Box 9001950
Louisville, KY 40290-1950

Date(s) debt was incurred _

Last 4 digits of account number _

Nonpriority creditor's name and mailing address

Yellow Ambulance
P.O. Box 2107
Louisville, KY 40201

Date(s) debt was incurred 2013

Last 4 digits of account number _

Official Form 206 E/F
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com

Schedule E/F: Creditors Who Have Unsecured Claims

Case number (if known) 19-90617-BHL-7 _

As of the petition filing date, the claim is: Check al! that apply.
0D Contingent

D1 unliquidated

1 Disputed

Basis for the claim: Open Account

Is the claim subject to offset? Bno Oves

$3,918.93

 

As of the petition filing date, the claim is: Check aif that apply.
O Contingent

0 unliquidated

Oo Disputed

Basis for the claim:_Promissory Note associated with prior Chapter 11
bankruptcy

ts the claim subject to offset? Hino Oves

_ $7,419.12

$19,332.73

 

As of the petition filing date, the claim is: Check aif that apply.
) Contingent

DO unliquidated

Oo Disputed

Basis for the claim: Open Account
Is the claim subject to offset? Bn O Yes

 

As of the petition filing date, the claim is: Check aif that apply.
Oo Contingent

D1 unliquidated

Oo Disputed

Basis for the claim: Open Account

Is the claim subject to offset? Ml No 1 ves

$1,984.10

As of the petition filing date, the claim is: Check aif that apply. $25,705.04
D Contingent
oO Unliquidated

oO Disputed
Basis for the claim: Open Account

{s the claim subject to offset? Eno Oves

 

$608.17

As of the petition filing date, the claim is: Check aif that apply.
0 Contingent

OD unliquidated

Oo Disputed

Basis for the claim: Open Account

Is the claim subject to offset? En O Yes

As of the petition filing date, the claim is: Check ail that apply. $6,825.09
oO Contingent
0 unliquidated

Oo Disputed
Basis for the claim: Promissory Note associated with prior Chapter 11
bankruptcy

Is the claim subject to offset? Ml No O ves

 

 

Page 33 of 36
Best Case Bankruptcy
Case 19-90617-AKM-7A Doc54_ Filed 08/12/19 EOD 08/12/19 12:07:37 Pg 35 of 38

Debtor Kentuckiana Medical Center, LLC _

Name

 

Nonpriority creditor's name and mailing address
Yellow Ambulance Southern IN
P.O. Box 2107
Louisville, KY 40201

Date(s) debt was incurred 2018
Last 4 digits of account number _

Nonpriority creditor's name and mailing address
Zip Express
P.O. Box 33101
Louisville, KY 40232-3101

Date(s) debt was incurred _

 

 

Last 4 digits of account number _

List Others to Be Notified About Unsecured Claims

Case number (if known} _19-90617-BHL-7

As of the petition filing date, the claim is: Check all that apply.
Oo Contingent

D unliquidated

DO Disputed

Basis for the claim: Open Account

$1,434.79

Is the claim subject to offset? a No Dyes

 

As of the petition filing date, the claim is: Check aif that apply.
Oo Contingent

O Unliquidated

Oo Disputed

Basis for the claim: Open Account
1s the claim subject to offset? Bno Oves

$24.19

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,

assignees of claims listed above, and attorneys for unsecured creditors.

If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

Name and mailing address

41 Jeffrey A. Campbell, MD

c/o James R. Irving, Esq.
3500 PNC Tower, 101 S. 5th Street
Louisville, KY 40202

42 DXC Refunds

P.O. Box 2303, Dept. 130
Indianapolis, IN 46206-2303

43 Eli Hallal, MD

c/o James R. Irving, Esq.
3500 PNC Tower, 101 S. 5th Street
Louisville, KY 40202

 

Indiana Patient's Compensation Fund
Indiana State Dept. of Insurance

311 W. Washington Street, Suite 300
Indianapolis, IN 46204

4.4

 

Indiana Patient's Compensation Fund
Indiana State Dept. of Insurance

311 W. Washington Street, Suite 300
Indianapolis, IN 46204

 

Indiana Patient's Compensation Fund
Indiana State Dept. of Insurance

311 W. Washington Street, Suite 300
Indianapolis, IN 46204

47 Indiana Patient's Compensation Fund
Indiana State Dept. of Insurance
311 W. Washington Street, Suite 300

Indianapolis, IN 46204

Official Form 206 E/F
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com

Schedule E/F: Creditors Who Have Unsecured Claims

On which line in Parti or Part 2 is the
related creditor (if any) listed?

Last 4 digits of
account number, if
any

Line 3.46

1 Notlisted. Explain

Line 3.78

O  Notlisted. Explain

Line 3.99

O  Notlisted. Explain

Line 3.21

1 Not listed. Explain

Line 3.20

O  Notlisted. Explain

Line 3.100

O1  Notlisted. Explain

Line 3.102

O1 Notlisted. Explain

Page 34 of 36
Best Case Bankruptcy
Case 19-90617-AKM-7A Doc 54 Filed 08/12/19 EOD 08/12/19 12:07:37 Pg 36 of 38

Debtor Kentuckiana Medical Center, LLC

Name

 

 

Name and mailing address

4.8 Indiana Patient's Compensation Fund
Indiana State Dept. of Insurance
311 W. Washington Street, Suite 300
Indianapolis, IN 46204

 

49 Indiana Patient's Compensation Fund
Indiana State Dept. of Insurance
311 W. Washington Street, Suite 300
Indianapolis, IN 46204

 

 

4.10 Indiana Patient's Compensation Fund
Indiana State Dept. of Insurance
311 W. Washington Street, Suite 300
Indianapolis, IN 46204

 

4.11 Indiana Patient's Compensation Fund
Indiana State Dept. of Insurance
311 W. Washington Street, Suite 300
Indianapolis, IN 46204

412 Indiana Patient's Compensation Fund
Indiana State Dept. of Insurance
311 W. Washington Street, Suite 300
Indianapolis, IN 46204

4.13 Indiana Patient's Compensation Fund
Indiana State Dept. of Insurance
311 W. Washington Street, Suite 300
Indianapolis, IN 46204

4.14 Indiana Patient's Compensation Fund
Indiana State Dept. of Insurance
311 W. Washington Street, Suite 300
Indianapolis, IN 46204

 

4.15 — Indiana Patient's Compensation Fund
Indiana State Dept. of Insurance
311 W. Washington Street, Suite 300
Indianapolis, IN 46204

 

4.16 KMC Real Estate Investors, LLC
c/o RL BB-IN KRE RE, LLC
760 NW 107th Avenue, 4th Floor
Miami, FL 33172
4.17 Renato LaRocca, MD
c/o James R. Irving, Esq.
3500 PNC Tower, 101 S. 5th Street
Louisville, KY 40202

 

4.18 Physicians Primary Care, LLC
c/o James R. Irving, Esq.
3500 PNC Tower, 101 S. 5th Street
Louisville, KY 40202

419 Q-Centrix
c/o Mitchell A. Bragg, Esq.
10 Pleasant Street
Portsmouth, NH 03801

Total Amounts of the Priority and Nonpriority Unsecured Claims

Case number (if known) 19-90617-BHL-7 _

On which line in Part? or Part 2 is the Last 4 digits of

related creditor (if any) listed? account number, if
any

Line 3.101.

1 Notlisted. Explain

Line _3.200

C1 Notlisted. Explain

Line 3.40

1 Notlisted. Explain

Line 3.41

1 Notlisted. Explain

Line 3.97

1 Notlisted. Explain

Line 3.98

1 Notlisted. Explain

Line 3.178

OC  Notlisted. Explain

Line 3.179

0 Notlisted. Explain

Line 3.180

 

1 Notlisted. Explain

Line 3.126

 

O1  Notlisted. Explain

Line 3.164

O  Notlisted. Explain

Line 3.171

 

O1  Notlisted. Explain

 

Official Form 206 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 35 of 36

Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com

Best Case Bankruptcy
Case 19-90617-AKM-7A Doc54_ Filed 08/12/19 EOD 08/12/19 12:07:37 Pg 37 of 38

Debtor Kentuckiana Medical Center, LLC Case number (itknown) —-19-90617-BHL-7 |

Name

 

5. Add the amounts of priority and nonpriority unsecured claims.

Tota! of claim amounts

 

5a. Total claims from Part 1 Sa. $ 0.00
5b. Total claims from Part 2 5b. + § 27,891 907.88
/—— Sees
5c. Total of Parts 1 and 2 |
Lines 5a + 5b = 5c. 5c. $ 27,891,907.88
Official Form 206 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 36 of 36

Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com Best Case Bankruptcy
Case 19-90617-AKM-7A Doc54_ Filed 08/12/19 EOD 08/12/19 12:07:37 Pg 38 of 38

LIME M UUM anieletertatey am come (-Talil Am Ul -Wor: Com

Debtorname Kentuckiana Medical Center, LLC _ |

United States Bankruptcy Court for the: SOUTHERN DISTRICT OF INDIANA

Case number (if known) 19-90617-BHL-7
Mi Check if this is an
amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases 12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1. Does the debtor have any executory contracts or unexpired leases?

C1 No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.

@ Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal Property
(Official Form 206A/8).

State the name and mailing address for all other parties with
whom the debtor has an executory contract or unexpired

2. List all contracts and unexpired leases

lease
2.1. State what the contract or Lease of premises at 170
lease is for and the nature of | Doctor Arla Way,
the debtor's interest Louisville, KY 40229
Debtor is the Tenant
State the term remaining 25 months Antaeus, LLC

List the contract number of any

c/o Dr. Mohana Arla
170 Dr. Arla Way
Louisville, KY 40229

 

government contract _
2.2. State what the contract or Leased Ultrasound
lease is for and the nature of | Equipment / Lease
the debtor's interest #101-10186163
60 month lease dated
6/25/2018

Lease has $1.00 buyout
option at the end

State the term remainin
9 Phillips Medical Center, LLC

1111 Old Eagle School Road

List the contract number of any W PA 19087
layne,

government contract

Official Form 206G Schedule G: Executory Contracts and Unexpired Leases Page 1 of 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com Best Case Bankruptcy
